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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                            Case No.:


  PATRICK GAYLE, et al.,

        Petitioners-Plaintiffs, on behalf
        of themselves and those
        similarly situated

  v.

  MICHAEL W. MEADE, et al.,

        Respondents-Defendants.


  __________________________________________/




  PETITIONERS EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
   AND MOTION FOR PRELIMINARY INJUNCTION FOR PROPOSED CLASS AND
                INCORPORATED MEMORANDUM OF LAW
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                                          INTRODUCTION

         Petitioners-Plaintiffs are women and men detained by Respondents-Defendants in civil

  immigration detention at three Florida detention centers within the jurisdiction of the Miami

  Field Office of Immigration and Customs Enforcement (“ICE”). All Petitioners are at imminent

  risk of contracting coronavirus disease 2019 (“COVID-19”) as a result of their inability to follow

  Center for Disease Control (“CDC”) guidelines and state and local directives due to their

  continued detention. This action challenges the refusal of Respondents to release Petitioners, and

  others in the class they represent, so that they can shelter in place, follow CDC guidelines, and

  reduce their likelihood of infection and illness.

         COVID-19 threatens every woman and man detained at Krome Service Processing

  Center (“Krome”), Glades County Detention Center (“Glades”), and Broward Transitional

  Center (“BTC”). A chart of the reported COVID-19 cases of people in ICE detention depicts an

  alarming steep curve. See Chart (Appx. I, Exh. 1); Declaration of Dr. Joseph Shin, MD, MSc

  dated April 13, 2020 (“Shin Dec.”) ¶¶ 39-41(Exh. 2); Declaration of Dr. Pedro J. Greer, Jr.

  (“Greer Dec.”) (Exh. 3).

         The spread of COVID-19 in ICE detention in Florida has been marked by secrecy and

  cover-up. As early as March 27, 2020, local attorneys have reported to their voluntary bar

  association that their “clients have indicated there are sick individuals in detention locally,

  quarantined individuals, and detainees wearing protective gear.” (Appx I, Exh. J, at 357-59, 357

  ¶ 1.). ICE, however, would not confirm any positive testing. Id.

         On April 6, 2020, the Miami Herald broke the news that ICE did indeed have COVID-19

  cases in Florida. ICE told the Herald that two officers working at Krome Service Processing

  Center in Miami had tested positive for COVID-19, and many others were awaiting results from




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  their tests. (Appx I, Exh. C, at 33-38.) On that same day, ICE told the Herald that no detained

  individuals in Florida had tested positive. (Appx I, Exh. D, at 39-46, 40-41) (“For weeks—and as

  recently as Monday—US Immigration and Customs Enforcement has repeatedly told the Herald

  that no detainees in their custody in Florida have tested positive for the virus.”). ICE’s statement

  was false. On April 7, the Herald ran a second story explaining that a detained individual at

  Krome had tested positive. A federal official with first-hand knowledge told the Herald: “While

  that is true that no detainee currently at the detention center tested positive for COVID-19, it’s

  also not completely accurate as testing is not conducted on site and detainees are sent to an off-

  site hospital to be tested.” (Appx I, Exh. D, at 41.)

           ICE had also decided not to disclose whether third-party contractors test positive for

  COVID-19, providing them a “loophole” to reporting the actual number of COVID-19 cases

  among its employees in detention centers. Third-party contractors comprise a large portion of

  employees in detention centers. See Monique O. Madan, Two Workers at ICE Detention Center

  in Miami-Dade Test Positive for Coronavirus, Miami Herald (April 6, 2020).1

           Each of the three detention centers either has confirmed cases of the virus or has groups

  of individuals herded together in “cohort quarantine” because they have been exposed. Rather

  than mitigate the risk of transmission, these cohort quarantines drastically increase the possibility

  of transmission, infection, and facility-wide outbreak by grouping together people who have

  already been exposed to the virus. See Shin Dec. ¶ 40 (Exh. 2) (“The analysis that I provide

  above regarding screening, ‘cohorting’ and social distancing is not theoretical. In fact, there are a

  growing number of facilities throughout the country where the rate of infection is growing

  exponentially amongst both people detained as well as staff. In these settings, hundreds, and



  1
      Available at: https://www.miamiherald.com/news/local/immigration/article241791511.html.

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  potentially thousands of people will become infected, and many will die.”); Greer Dec. ¶ 30

  (Exh. 3).

         Under CDC Guidelines, which detention centers are required to follow, people exposed

  to COVID-19 should be put in individual, not group, quarantine: “Facilities should make every

  possible effort to quarantine close contacts of COVID-19 cases individually.” CDC Interim

  Guidance (Appx I, Exh. F, at 66) (emphasis added). Cohort quarantine “should only be practiced

  if there are no other available options.” (Id.) (emphasis added). As the CDC explains,

  “[c]ohorting multiple quarantined close contacts of a COVID-19 case could transmit COVID-19

  from those who are infected to those who are uninfected.” (Id.)

         “Facilities without onsite healthcare capacity, or without sufficient space to implement

  effective quarantine, should coordinate with local public health officials to ensure that close

  contacts of COVID-19 cases will be effectively quarantined and medically monitored.” (Appx I,

  Exh. F, at 66) (emphasis added). Additionally, “[f]acilities with limited onsite medical isolation,

  quarantine, and/or healthcare services should coordinate closely with state, local, tribal, and/or

  territorial health departments when they encounter a confirmed or suspected case, in order to

  ensure effective medical isolation or quarantine, necessary medical evaluation and care, and

  medical transfer if needed.” (Appx I, Exh. F, at 62)

         Respondents are defying CDC Guidelines by refusing to do the one thing they could to

  do comply with those guidelines – releasing individuals during the pandemic. Instead

  respondents are affirmatively putting detained people at risk by confining them in close sleeping,

  eating, and living quarters at Krome, Glades, and BTC. Because Respondents could release

  Petitioners and those similarly situated, “cohort quarantine” is not the only “available option.”

  As Dr. Shin warns “[t]here is no way for immigration detention facilities to comply with CDC




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  guidelines on social distancing and quarantining unless Respondents release detained men and

  women on a large scale. When release from a detained setting is an option and there is lack of

  testing ability and an inability to employ social distancing, it is my professional opinion that

  failure to release during the COVID-19 pandemic is a violation of the CDC guidelines and will

  result in continued and wide-spread infection.” Shin Dec., ¶ 39 (Exh. 2).

           Detainee reports from all three facilities document that social distancing is impossible,

  people exhibiting flu-like symptoms are housed in the general population, and maintaining

  personal hygiene is constrained by the crowded facilities and lack of cleaning supplies. At BTC

  and Glades, men and women must ration soap weekly—two smalls bottles at BTC per person,

  and one 4-ounce bottle at Glades. (Appx I, Exh. J, at 126-30) (Declaration of Francis L. Conlin,

  Friends of Miami-Dade Detainees).

           Despite warnings from medical and public health professionals that releasing detained

  immigrants is the only viable option to comply with social distancing, individual quarantine, and

  other CDC requirements and local and state orders, the agency has generally refused to release in

  any meaningful way, in the absence of court intervention. It is impossible for Petitioners to

  protect themselves from infection through social distancing and vigilant hygiene—the only

  known mitigation measures.

           Federal judges across the country have ordered the urgent release of numerous

  immigrants, explaining the pressing health risks created by detaining groups of people at this

  time.3

           On April 8, 2020, U.S. District Court Judge William G. Young ordered ICE to release

  detained individuals because of the COVID-19 threat: “The situation is urgent and

  unprecedented, and . . . a reduction in the number of people who are held in custody is




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  necessary.” Memorandum and Order at 28, Savino v. Souza, Case No. 1:20-cv-10617-WGY (D.

  Mass. Apr. 8, 2020) (DE 64) (copy at Appx. I, Exh. A, 1-29).



                  STANDARD FOR A TEMORARY RESTRAINING ORDER
                         AND PRELIMINARY INJUNCTION

         The purpose of a temporary restraining order or preliminary injunction is to “protect

  against irreparable injury and preserve the status a quo until the district court renders a

  meaningful decision on the merits.” Schiavo ex rel. Schindler v. Schiavo, 403 F. 3d 1223, 1231

  (CA11 2005) (citing Canal Auth. of State of Fla. v. Callaway, 489 F. 2d 567, 572 (CA5 1974)).

  Temporary restraining orders have historically been available to prevent violations of due

  process in immigration proceedings. See, e.g., Louis v. Meissner, 530 F. Supp. 924 (S.D. Fla.

  1981) (ordering class-wide TRO on behalf of hundreds of Haitian refugees where legacy-I.N.S.

  sought to remove Haitians en masse by employing tactics to deny access to counsel, and failed to

  provide proper notice through inadequate translations).

         In the case of stays of removal, “the ‘traditional’ standard for a stay applies.” Nken v.

  Holder, 556 U.S. 418, 425 (2009). These factors are:

         (1) whether the stay applicant has made a strong showing that he is likely to
         succeed on the merits; (2) whether the applicant will be irreparably injured absent
         a stay; (3) whether issuance of the stay will substantially injure the other parties
         interested in the proceeding; and (4) where the public interest lies.

  Id., at 434 (citation omitted). “The first two factors of the traditional standard are the most

  critical.” Id. However, “the movant may also have his motion granted upon a lesser showing of

  a substantial case on the merits when “the balance of the equities identified in factors 2, 3, and 4

  weighs heavily in favor of granting the stay.” Garcia-Mir v. Meese, 781 F. 2d 1450, 1453 (11th

  Cir. 1986) (citing Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. 1981 (per curiam), cer denied, 460




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  U.S. 1042 103 S.Ct. 1438, 75 L.Ed.2d 795 (1983) (punctuation omitted)).



                                     STATEMENT OF FACTS

             A. All experts agree that COVID-19 will likely ravage jails, prisons, and
                detention centers.

         Imprisoned populations, including those in ICE detention facilities, are at higher risk for

  infectious disease, as compared to the general population. Factors that heighten their risk include

  poor sanitation, high population density, and “a higher prevalence of infectious and chronic

  diseases and . . . poorer health than the general population, even at younger ages.” CDC Interim

  Guidance (Appx I, Exh. F, at 48-74).

         Dr. Shin explains that in detention settings “hundreds, and potentially thousands of

  people will become infected, and many will die. This is a direct result of a failure to implement

  the recommended measures at an early enough to stage to prevent illness and save lives.

  Already, some ICE facilities the numbers of detected COVID-19 infections are growing at an

  exponential rate. By the time facilities recognize this kind of exponential growth in detected

  cases, it will already be too late. Therefore, individuals should be released from detention.” Shin

  Dec., ¶ 40. (Exh. 2). See also, Greer Dec. ¶ 30 (Exh. 3). (There is no way for immigration

  detention facilities to comply with CDC guidelines on social distancing and quarantining unless

  Respondents release detained men and women on a large scale.)

         The conclusions of Drs. Shin and Greer are consistent with the conclusions reached by

  Drs. Scott Allen and Josiah Rich—experts in the fields of detention health, infectious disease,

  and public health who advise DHS’s Office of Civil Rights and Civil Liberties—who urged

  Congress on March 19, 2020 to take immediate actions to slow the spread of COVID-19 in ICE




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  detention centers, including releasing immigrants to facilitate maximum social distancing—an

  “oxymoron” in congregate settings. (Appx I, Exh. L, at 235-41.)

            In March 2020, over 3,000 medical professionals across the United States urged ICE to

  release individuals and families from detention “to prevent the spread of COVID-19 and

  mitigate the harm of an outbreak” to detained individuals, as well as to facility staff.2 They

  warned that social distancing measures recommended by the CDC are impossible in immigration

  detention and that the capacity for individual isolation and quarantine recommended by the CDC

  is extremely limited. When individual isolation is possible, the medical providers expressed

  concern that “isolation may be misused and place individuals at higher risk of neglect and

  death.”

            Like these and other experts,3 Drs. Allen and Rich also warned of the dire consequences

  that a COVID-19 outbreak within an ICE detention facility would have on the community

  outside the facility. They describe a “tinderbox” scenario where a rapid outbreak inside a facility

  would result in the hospitalization of multiple detained people in a short period of time, which

  would spread the virus to the surrounding community and create a demand for ventilators far

  exceeding the supply. (Appx I, Exh. L, at 238)

            Once a disease is introduced into a jail, prison, or detention facility, it spreads faster than

  under most other circumstances due to overcrowding, poor sanitation and hygiene, and lack of




     2
       Janus Rose, Thousands of Doctors Demand ICE Release Detainees to Stop a COVID-19
  Disaster, Vice.com (Mar. 18, 2020), https://www.vice.com/en_us/article/4agp4w/thousands-of-
  doctors-demand-ice-release-detainees-to-stop-a-covid-19-disaster
     3
       See, e.g., Rich Schapiro, Coronavirus could ‘wreak havoc’ on U.S. jails, experts warn,
  NBC News (Mar. 12, 2020), https://www.nbcnews.com/news/us-news/coronavirus-could-wreak-
  havoc-u-s-jails-experts-warn-n1156586 (“An outbreak of the deadly virus inside the walls of a
  U.S. prison or jail is now a question of when, not if, according to health experts.”).


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  access to adequate medical services. For these same reasons, the outbreak is harder to control.4

  The severe outbreaks of COVID-19 in congregate environments, such as cruise ships and nursing

  homes, illustrate how rapidly and widely COVID-19 would rip through an ICE detention facility.

  On the Diamond Princess cruise ship, for example, approximately 700 passengers and crew on

  board were infected over the course of three weeks despite the initiation of quarantine protocols.5

          COVID-19 has indeed already started to spread inside U.S. prisons and jails across the

  United States, including other carceral systems in Florida,6 Chicago,7 and New York City.8

  Correctional staff is an especially dangerous vector for a COVID-19 outbreak within a detention

  center since they regularly travel back and forth between the outside world and the detention

  facilities where they work.

          ICE’s past handling of infectious disease outbreaks in detention centers has been inept—

  foreshadowing the impact COVID-19 will have if Petitioners are not released. In 2019, a mumps

  outbreak across 57 immigration detention facilities throughout the country led to almost 900

  cases of mumps overwhelmingly contracted inside the facilities9 before the outbreak spread to



      4
      Christina Potter, Outbreaks in Migrant Detention Facilities, Outbreak Observatory (Jul. 11,
  2019), https://www.outbreakobservatory.org/outbreakthursday-1/7/11/2019/outbreaks-in-
  migrant-detention-facilities
  5
    Failures on the Diamond Princess Shadow Another Cruise Ship Outbreak, The New York
  Times (Mar. 8, 2020), www.nytimes.com/2020/03/08/world/asia/coronavirus-cruise-ship.html.
  6
    Florida Department of Corrections, COVID-19 Information,
  http://www.dc.state.fl.us/comm/covid-19.html.
  7
    Timothy Williams and Danielle Ivory, Chicago’s Jail Is Top Hot Spot as Virus Spreads Behind
  Bars, The New York Times (Apr. 8, 2020), www.nytimes.com/2020/04/08/us/coronavirus-cook-
  county-jail-chicago.html.
  8
    Emma Grey Ellis, Covid-19 Poses a Heightened Threat in jails and Prisons, wired.com (Mar.
  24, 2020), https://www.wired.com/story/coronavirus-covid-19-jails-prisons/
      9
        Leung J, Elson D, Sanders K, et al. Notes from the Field: Mumps in Detention Facilities
  that House Detained Migrants—United States, September 2018–August 2019, MMWR Morb
  Mortal Wkly, 749–50 (Aug. 30, 2019),
  https://www.cdc.gov/mmwr/volumes/68/wr/pdfs/mm6834a4-H.pdf.


                                                   9
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   surrounding communities.10 ICE and CBP facilities have been sites of other outbreaks in just the

   past couple years,11 in addition to outbreaks in other prisons and jails.12

           Nationally and internationally, governments and jail and prison staff have already

   recognized the threat posed by COVID-19 and released detained individuals. Iran,13 Ethiopia,14

   and Texas15 and have all begun to release people to mitigate the harm that the impending spread

   of COVID-19 will cause.

           One of the largest police forces in the nation, the Miami-Dade Police Department, has

   ordered its officers to issue citations for all misdemeanor offenses to reduce arrests and jail



      10
           See Terrence McDonald, Bergen County Won’t Say if Mumps Outbreak Affects Only
   Immigrant Detainees, Northjersey.com (Jun. 13, 2019),
   https://www.northjersey.com/story/news/bergen/2019/06/13/bergen-county-nj-wont-say-if-jail-
   mumps-outbreak-hit-only-ice-inmates/1448708001. In addition, in 2019, thousands of
   individuals in 39 immigration detention centers across the country were exposed to chickenpox.
   Emma Ockerman, Migrant Detention Centers Are Getting Slammed with Mumps and
   Chickenpox, Vice News (Jun. 14, 2020), https://www.vice.com/en_us/article/mb8k5q/migrant-
   detention-centers-are-getting-slammed-with-mumps-and-chicken-pox.
      11
          Christina Potter, Outbreak Observatory (describing outbreaks of acute respiratory illnesses
   like influenza, and other diseases like scabies and chickenpox). Both Krome and BTC have had
   mumps outbreaks, and other illnesses that required quarantine.
      12
         J. O’Grady, et al., Tuberculosis in prisons: anatomy of global neglect, European
   Respiratory Journal (2011), https://erj.ersjournals.com/content/38/4/752.short (stating that
   tuberculosis prevalence among prisoners worldwide can be up to 50 times higher than national
   averages).
      13
          Babk Dehghanpisheh and Stephanie Nebehay, Iran Temporarily Releases 70,000
   Prisoners as Coronavirus Cases Surge, Reuters (Mar. 9, 2020),
   https://www.reuters.com/article/us-health-coronavirus-iran/iran-temporarily-releases-70000-
   prisoners-as-coronavirus-cases-surge-idUSKBN20W1E5.
      14
         Bukola Adebayo, Ethiopia pardons more than 4,000 prisoners to help prevent coronavirus
   spread, CNN (Mar. 26, 2020), https://www.cnn.com/2020/03/26/africa/ethiopia-pardons-4000-
   prisoners-over-coronavirus/index.html.
      15
          Dillon Collier, Bexar County jail population down more than 500 inmates after release of
   nonviolent offenders, KSAT.com (last updated Mar. 25, 2020),
   https://www.ksat.com/news/local/2020/03/25/bexar-county-jail-population-down-more-than-
   500-inmates-after-release-of-nonviolent-offenders/.


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   population during the pandemic.16 The Broward Sheriff’s Office has done the same, estimating a

   reduction in arrests and bookings of 60%.17

          On April 7, 2020, a temporary restraining order was issued from this Court requiring

   Miami-Dade Corrections to implement health safety protocols in the Metro West Detention

   Center. Order, Swain v. Junior, 20-cv-21457-KMW (S.D. Fla. Apr. 7, 2020) (copy at Appx I,

   Exh. M, at 242-47).

          The Federal Bureau of Prisons has instructed prison directors to prioritize releasing

   federal inmates to home confinement, taking into consideration factors including “[t]he age and

   vulnerability of the inmate to COVID-19, in accordance with the [CDC] guidelines.”18


              B. The Center for Disease Control and the detention standards inform ICE’s
                 duties to people at Krome, Glades, and BTC.

          Krome and BTC are subject to ICE’s Performance-Based National Detention Standards

   2011 (“PBNDS”). (Appx. I, Exh. K, at 152, 156). Section 4.3(II)(10) requires that “Centers for

   Disease Control and Prevention (CDC) guidelines for the prevention and control of infectious

   and communicable diseases shall be followed.” ICE PBNDS (Appx I, Exh. N, at 248-97, 253).19

          Glades is subject to ICE’s National Detention Standards (NDS). (Appx. I, Exh. K, at

   165.) The current governing version of the NDS is the 2019 National Detention Standards for

   16
     https://theappeal.org/miami-covid-19-arrests/
   17
     Two Broward Inmates Test Positive For Coronavirus, As Calls For Release Grow, WLRN
   (Apr. 2, 2020), www.wlrn.org/post/two-broward-inmates-test-positive-coronavirus-calls-release-
   grow#stream/0; Opinion: Broward County Jail: A COVID-19 time bomb, Sun Sentinel (Apr. 3,
   2020), www.sun-sentinel.com/opinion/commentary/fl-op-com-finkelstein-broward-county-jail-
   threat-coronavirus-covid-20200403-kb7g5zwoinf2pfluw4dsxlda7y-story.html.
       18
          Office of the Attorney General, Washington, DC, Memorandum for Director of Bureau
   Prisons, Prioritization of Home Confinement As Appropriate in Response to COVID-19
   Pandemic (Mar. 26, 2020), https://www.politico.com/f/?id=00000171-1826-d4a1-ad77-
   fda671420000.
   19
      Full copy available at: https://www.ice.gov/doclib/detention-
   standards/2011/pbnds2011r2016.pdf.

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   Non-Dedicated Facilities.20 Under section 1.1(I) of the NDS, covered “facilit[ies] will operate in

   accordance with all applicable regulations and codes, such as those of . . . the Centers for Disease

   Control and Prevention (CDC).” ICE NDS (Appx I, Exh. O, at 304).21

            The CDC has issued an Interim Guidance on Management of Coronavirus Disease 2019

   (COVID-19) in Correctional and Detention Facilities. (Appx. I, Exh. F, at 48-73). This guidance

   stresses the vital importance of ensuring social distancing, proper hygiene, access to testing,

   individual isolation of people who have the virus, and quarantine of people exposed to the virus.

   The guidance specifically states that it is intended for ICE, as a law enforcement agency with

   custodial authority of detained populations.

            The CDC Guidance requires that “detained persons who are close contacts of a confirmed

   or suspected COVID-19 case (whether the case is another incarcerated/detained person, staff

   member, or visitor) should be placed under quarantine for 14 days.” (Appx. I, Exh. F, at 66.)

            An individual is considered a close contact if they have been within approximately 6 feet

   of a COVID-19 case for a prolonged period of time, or have had direct contact with infectious

   secretion from such a person, such as coughing. (Appx. I, Exh. F, at 50.) “Close contact can

   occur while caring for, living with, visiting, or sharing a common space with a COVID-19 case.”

   (Appx. I, Exh. F, at 50, 66). “A confirmed case has received a positive result from a COVID-19

   laboratory test, with or without symptoms,” and “[a] suspected case shows symptoms.” (Appx. I,

   Exh. F, at 51.) Symptoms “include fever, cough, and shortness of breath.” (Id.)

            Quarantine is “the practice of confining individuals who had close contact with a

   COVID-19 case to determine whether they develop symptoms,” and it “should last a period of 14

   days.” (Appx. I, Exh. F, at 51.) “Ideally, each quarantined individual would be quarantined in a


      20
           Supersession noted at: www.ice.gov/detention-standards/2000.
      21
           Full copy available at: www.ice.gov/doclib/detention-standards/2019/nds2019.pdf.

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   single cell with solid walls and a solid door that closes.” (Id.) “If symptoms develop during the

   14-day period, the individual should be placed under medical isolation and evaluated for

   COVID-19.” (Id.) “Medical isolation refers to confining a confirmed or suspected COVID-19

   case (ideally to a single cell with solid walls and a solid door that closes), to prevent contact with

   others and to reduce the risk of transmission.” (Appx. I, Exh. F, at 51.) “Medical isolation end

   when the individual meets pre-established clinical and/or testing criteria for release from

   isolation, in consultation with clinic providers and public health officials” as detailed in the

   CDC’s Guidance. (Id.)

          “Cohorting refers to the practice of isolating multiple laboratory-confirmed COVID-19

   cases together as a group, or quarantining close contacts of a particular case together as a group.”

   (Appx. I, Exh. F, at 50.) “Ideally, cases should be isolated individually, and close contacts should

   be quarantined individually.” (Id.)

          The CDC Guidance states that detention centers should put people exposed to close

   contact with confirmed or symptomatic COVID-19 cases in individual, not group, quarantine:

   “Facilities should make every possible effort to quarantine close contacts of COVID-19 cases

   individually.” (Appx. I, Exh. F, at 66) (emphasis added). Cohort quarantine “should only be

   practiced if there are no other available options.” (Id.) (emphasis added). As the CDC explains,

   “[c]ohorting multiple quarantined close contacts of a COVID-19 case could transmit COVID-19

   from those who are infected to those who are uninfected.” (Id.)

          According to the CDC Guidance’s order of preference, the last option before a “safe[]

   transfer to another facility with capacity to quarantine” is cohorting in a detainee’s “regularly

   assigned housing but with no movement outside of the unit (if an entire housing unit has been

   exposed),” but only if it is possible to employ social distancing strategies “to maintain at least 6




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   feet of space between individuals.” (Appx. I, Exh. F, at 67) (emphasis added). “If cohorted,

   quarantined individuals should wear face masks at all times (to prevent transmission from

   infected to uninfected individuals).” (Id.) (emphasis added). The last option of transfer “should

   be avoided due to the potential to introduce infection to another facility.” (Id.)

          But, “[f]acilities without onsite healthcare capacity, or without sufficient space to

   implement effective quarantine, should coordinate with local public health officials to ensure that

   close contacts of COVID-19 cases will be effectively quarantined and medically monitored.”

   (Appx. I, Exh. F, at 66) (emphasis added).

          Even stricter quarantining and isolation protocols apply in confirmed or suspected cases

   of COVID-19 infection. (Appx. I, Exh. F, at 62-66). However, the need to “[r]estrict quarantined

   individuals from leaving the facility (including transfers to other facilities)” is subject to an

   exception for detained individuals “released from custody.” (Appx. I, Exh. F, at 68)

          Release to individualized quarantining and isolation outside of a detention facility serves

   public health because, as the CDC explains, “[i]ncarcerated/detained persons live, work, eat,

   study, and recreate within congregate environments, heightening the potential for COVID-19 to

   spread once introduced,” and “[o]ptions for medical isolation of COVID-19 cases are limited and

   vary depending on the type and size of facility, as well as the current level of available capacity,

   which is partly based on medical isolation needs for other conditions.” (Appx. I, Exh. F, at 49)

          Additionally, “[t]here are many opportunities for COVID-19 to be introduced into a

   correctional or detention facility, including daily staff ingress and egress; transfer of

   incarcerated/detained persons between facilities and systems, to court appearances, and to

   outside medical visits; and visits from family, legal representatives, and other community

   members.” (Appx. I, Exh. F, at 49). “Some settings, particularly jails and detention centers, have




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   high turnover, admitting new entrants daily who may have been exposed to COVID-19 in the

   surrounding community or other regions.” (Appx. I, Exh. F, at 49). Further, “[p]ersons

   incarcerated/detained in a particular facility often come from a variety of locations, increasing

   the potential to introduce COVID-19 from different geographic areas.” (Appx. I, Exh. F, at 49)

          As for new entrants, the CDC also recommends routine intake quarantining, which means

   “quarantining all new intakes for 14 days before they enter the facility’s general population

   (SEPARATELY from other individuals who are quarantined due to contact with a COVID-19

   case).” (Appx. I, Exh. F, at 61.) (emphasis in original). The CDC further specifies that detention

   centers should conduct “pre-intake screening and temperature checks for all new entrants” and to

   put new intakes with symptoms (fever, cough, shortness of breath) in medical isolation. (Appx. I,

   Exh. F, at 57)

          Further, ICE’s governing detention standards require reporting of the spread of

   communicable diseases within their detained populations. ICE PBNDS, § 4.3(V)(C)(1)

   (“Facilities shall comply with current and future plans implemented by federal, state or local

   authorities addressing specific public health issues including communicable disease reporting

   requirements.”) (copy at Appx I, Exh. N, at 256-57); id., at § 4.3(V)(C)(1)(h) (“Each facility

   shall have written plans that . . . shall include: . . . (h) management of infectious diseases and

   reporting them to local and/or state health departments in accordance with established guidelines

   and applicable laws.”); see also ICE NDS, § 4.3(II)(D)(2) (“The facility will have written plans

   that address the management of infectious and communicable diseases, including, but not limited

   to, testing, isolation, prevention, and education. This also includes reporting and collaboration

   with local or state health departments in accordance with state and local laws and

   recommendations.”) (copy at Appx I, Exh. O, at 314)




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              C. Continued detention in the unique circumstances of the current pandemic
                 poses a dire and imminent threat to Petitioners and others at Krome, Glades,
                 and BTC.

           ICE’s knowing and affirmative conduct in failing to address the clear foreseeability of

   severe outbreaks at Krome, BTC, and Glades, and to take the action of releasing Petitioners,

   demonstrates a disregard for the rights, well-being, and the humanity of detained immigrants.

   The continued detention of Petitioners and other detained individuals at Krome, Glades, and

   BTC is reckless.

           Despite the global pandemic and shelter-in-place orders across the country and knowing

   the risks, ICE affirmatively continues to bring new people into detention centers and to transfer

   previously detained people between facilities.22 ICE continues to issue detainer requests to

   counties instructing jail officials to hold people for them past the point of criminal custody

   coming to an end. ICE then transports these men and women from the local jail to immigration

   detention at Krome, Glades, and BTC.

           With respect to people like Petitioners who are already in custody, ICE is violating the

   CDC guidelines and detention standards in multiple ways.


      22
          U.S. Department of Homeland Security, U.S. Immigration and Customs Enforcement, ICE
   Guidance on COVID-19 (last reviewed/updated Apr. 2, 2020), https://www.ice.gov/covid19 (“ . .
   . our law enforcement officers and agents continue daily enforcement operations to make
   criminal and civil arrests.”); see also Richard Hall, Coronavirus: ICE Crackdown Stokes Fears
   for Safety of Undocumented Immigrants During Pandemic, Independent (Mar. 15, 2020),
   https://www.independent.co.uk/news/world/americas/coronavirus-us-immigrants-ice-raids-
   trump-bernie-sanders-undocumented-healthcare-a9398816.html (noting that “[i]n New York,
   immigration advocates have noted a marked increase in ICE activity in recent months, which has
   not slowed as the coronavirus outbreak has worsened.”). On March 18, 2020, ICE announced it
   would “temporarily adjust” its enforcement practices during the COVID-19 outbreak, but
   declined to say it would stop arresting people altogether. Rebecca Klar, ICE Pausing Most
   Enforcement During Coronavirus Crisis, The Hill (Mar. 18, 2020),
   https://thehill.com/latino/488362-ice-pausing-most-immigration-enforcement-during-
   coronavirus-crisis.


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             Rather than use individual quarantining of people who have been exposed to COVID-19,

   ICE routinely uses en masse “cohort quarantining.” ICE commends itself for having placed

   large groups of people who have been exposed to COVID-19 together in the same living space,

   despite the CDC’s statements that this measure will facilitate the spread of the virus among those

   quarantined and throughout the facility and outside community. (Appx. I, Exh. I, at 123 ¶10)

             On top of the fact that cohorting is supposed to be last option when “there are no other

   available options” (Appx. I, Exh. F, at 6), it is only an option when it is possible to employ social

   distancing strategies “to maintain at least 6 feet of space between individuals” (Appx. I, Exh. F,

   at 67), because “[c]ohorting multiple quarantined close contacts of a COVID-19 case could

   transmit COVID-19 from those who are infected to those who are uninfected” (Appx. I, Exh. F,

   at 66).

             Even in the general case, when a facility is not dealing with a positive or suspected

   COVID-19 case, or a case of a close contact to a positive or suspected COVID-19 case, detention

   facilities are instructed by the CDC Guidelines to “[i]mplement social distancing strategies to

   increase the physical space between incarcerated/detained persons (ideally 6 feet between all

   individuals, regardless of the presence of symptoms).” (Appx. I, Exh. F, at 58).

             ICE’s cohorting practice contravenes the CDC guidelines. Cohorting is not the same as

   quarantine or medical isolation. The CDC guidance makes it clear that cohorting is to be used

   only as a last resort. ICE, however, is using cohorting as the planned—and primary—response

   to a known COVID-19 exposure, not a practice of last resort. (Appx. I, Exh. I, at 123 ¶10).

             Moreover, cohorted groups are confined in spaces that prevent them from practicing

   social distancing. Cohorted groups are not provided with masks to prevent the transmission of

   COVID-19, as required by the CDC protocols. (Appx. I, Exh. F, at 67).




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           ICE has no plans to place suspected COVID-19 cases in individual medical isolation in

   which “[e]ach isolated individual should be assigned their own housing space and bathroom,” as

   the CDC instructs. (Appx. I, Exh. F, at 62) Moreover, people who exhibit flu-like symptoms are

   not always removed from the general population but instead are sleeping and eating within feet

   of others.

           Further, many of ICE’s claims of having implemented COVID-19 precautions are either

   contradicted by reports from detained people, or the procedures they have implemented are

   ineffective.

           Social distancing is impossible. People sleep in crowded rooms in bunk beds close

   together and must eat and bathe in close quarters. People are not provided sufficient soap to be

   able to comply with CDC hygiene inventory and hand-washing procedures. (Appx. I, Exh. F, at

   54-57) The bathrooms in these facilities are often unsanitary and in poor condition. Bathrooms

   have been identified as a particularly potent vehicle for the spread of COVID-19.23

           Other measures ICE claims to have taken, including temporarily suspending social

   visitation in detention and screening new detained immigrants for certain symptoms of COVID-

   19, are insufficient to curb the risk of infection within the detention centers. Detained

   individuals report that ICE has not implemented the CDC’s recommendation that newly detained

   individuals be in individual quarantine for 14 days before joining the rest of the population.



      23
         Why You Should Flush With The Lid Down: Experts Warn Of Fecal-Oral Transmission Of
   COVID-19, Forbes (Apr. 2, 2020), www.forbes.com/sites/alexandrasternlicht/2020/04/02/why-
   you-should-flush-with-the-lid-down-virologist-warns-of-fecal-oral-transmission-of-covid-
   19/#6d581edd6eb8. CDC guidelines require detention centers to, ”[s]everal times per day, clean
   and disinfect surfaces and objects that are frequently touched, especially in common areas. Such
   surfaces may include objects/surfaces not ordinarily cleaned daily (e.g., doorknobs, light
   switches, sink handles, countertops, toilets, toilet handles, recreation equipment, kiosks, and
   telephones).” www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
   correctional-detention.html.

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           Not all COVID-19 patients present with fever or respiratory symptoms. Many may be

   asymptomatic but still contagious, or have mild or less common symptoms. As symptoms of

   COVID-19 can present anywhere from 2 to 14 days after exposure, individuals who pass ICE’s

   screenings can expose other detained individuals, as well as detention center staff, if the CDC’s

   new intake quarantining protocols are not followed.

           Release from custody is both the only effective public health measure to curb increased

   transmission of COVID-19 and the most practical strategy to protect people like Petitioners from

   harm.

   Krome Service Processing Center

           Krome is a detention center located at the edge of Miami-Dade County. ICE’s contract

   with Akima Global Services (“AGS”), a third-party contractor, requires a mandatory minimum

   of 450 occupied beds. (Appx I, Exh. K, 149.) The population typically oscillates between 550

   and 875 persons—far exceeding the contractual mandatory minimum. (Appx I, Exh. K, 149.)

           ICE employs both ICE employees and AGS contract workers at the detention center.

   (Appx I, Exh. K, 149.) These workers typically live in Miami Dade County or other communities

   in South Florida.

           Krome is divided into different housing units. However, all housing units share common

   spaces which include the recreation area, medical area, and the cafeteria. Each general

   population housing unit (referred to as “pods”) is an open bay—meaning that there are at least

   65 bunk bed cots per unit. (Appx I, Exh. K, 149.) The bunk beds are positioned within six feet of

   each other. The open bay also has a communal space with a table and seating areas, showers,

   toilets, and sinks. The general population units do not have individual cells.




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          Detained individuals prepare the communal food. Up until very recently, several housing

   pods ate together in the cafeteria. The cafeteria is now closed due to COVID-19, and housing

   units are eating together in the communal area of their pod.

          Krome’s failure to provide adequate medical care has been an ongoing concern. (Appx I,

   Exh. K, at 141-43, 150). Critical medical care is routinely delayed—sometimes for months—or

   denied outright. Id. An inspection conducted in February 2019 concluded that Krome’s medical

   care was deficient. Lead Compliance Inspector.24 Instead of addressing sick calls twice a day, as

   the detention standards require, it takes two to eight days to triage a sick call. (Appx I, Exh. K,

   150.) When medical issues are addressed, individuals report not being properly treated or not

   treated at all. (Appx I, Exh. K, 150.) Proving ibuprofen is commonly used as a blanket solution

   to any and all medical issues. (Appx I, Exh. K, 150.)

           Because Krome fails to meet detained individual’s medical needs under normal

   circumstances, the medical staff are ill-prepared to provide adequate medical treatment amidst

   the COVID-19 pandemic.

          Krome has a large population and is often overcrowded. (Appx I, Exh. F, at 149-50)

   (overcrowding at Krome). ICE can tightly detain up to 1,000 individuals in the facility. (Appx I,

   Exh. K, 230 (endnote 118).) When the population reaches that number, it becomes dangerously

   overcrowded with 100 or more people in a pod with 65 beds. To house these numbers, Krome

   supplies stackable beds placed between bunkbeds, in front of the showers and bathrooms, next to

   the phones, and in the common television area. (Appx I, Exh. K, 149.) At least one pod, with 120

   detainees, is currently in such a crowded state.



   24
      Annual Detention Inspection of the Krome Service Processing Center, The Nakamoto Group,
   Inc. (Feb. 14, 2019) available at:
   https://www.ice.gov/doclib/facilityInspections/kromeSPC_CL_02-14-2019.pdf.

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          Overcrowding at Krome has led to many sanitation and health issues. (Appx I, Exh. K,

   150.) It becomes impossible to avoid human contact and the unit is harder to keep clean. (Appx I,

   Exh. K, 150). During the summer of 2019, there was a mumps outbreak at Krome in which

   housing units were group quarantined.25 Ten years before that, there was an outbreak of the

   H1N1 virus at Krome.26

          Detained men at Krome live in pods that house approximately 50 to 120 individuals. See

   Portuondo Dec. at ¶ 11 (Appx II, Exh. A, at 1-9); Gayle Dec. at ¶ 6 (Appx II, Exh. B, at 10-14).

   The large number of detained individuals in each pod make it infeasible to stay six feet apart and

   practice social distancing. See Arias-Martinez Dec. at ¶ 9 (Appx II, Exh. C, at 15-21); Jalloh

   Dec. ¶ 9(Appx II, Exh. D, at 22-29); Darwyn Dec. ¶ 5(c) (Appx II, Exh. E, at 30-34); Perez-

   Jeronimo Dec. ¶ 6 (Appx II, Exh. F, at 35-39); Chavez Dec. at ¶ 11 (Appx II, Exh. G, at 40-46);

   Jalloh Dec. ¶ 20 (Appx II, Exh. D, at 22-29); Mendez-Escobar Dec. ¶ 14 (Appx II, Exh. H, at 47-

   51); Zamora-Mendoza Dec. ¶ 10 (Appx II, Exh. I, at 52-54); Ocana-Guzman Dec. ¶ 8 (Appx II,

   Exh. J, at 55-60).

          The pods have bunk beds for the detained individuals to sleep, which are not 6 feet apart.

   See Arias-Martinez Dec. at ¶ 9 (Appx II, Exh. C, at 15-21); Alfaro-Garcia Dec. at ¶ 7 (Appx II,

   Exh. K, at 61-67); Khan Dec. at ¶ 8a (Appx II, Exh. L, at 68-74); Jalloh Dec. ¶ 12 (Appx II, Exh.

   D, at 22-29); Perez-Jeronimo Dec. ¶ 6 (Appx II, Exh. F, at 35-39); Chavez Dec. at ¶ 11 (Appx II,




   25
      Letter to ICE and Wardens from AI Justice, SPLC, AAAJ, and project South (Mar. 13, 2020),
   https://www.splcenter.org/sites/default/files/ltr_to_ice_and_wardens_re_covid-19_-_2020.03_-
   _final.pdf
   26
      After a Krome employee’s toddler contracted H1N1, ICE was criticized for not providing
   employees with proper protection, training, and information to deal with the virus. Kyle
   Munzenreider, Infact Child of ICE Employee Has Swine Flu, Miami New Times (June 23, 2009),
   https://www.miaminewtimes.com/news/infant-child-of-ice-employee-has-swine-flu-6565669.

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   Exh. G, at 40-46); Zamora-Mendoza Dec. ¶ 10 (Appx II, Exh. I, at 52-54); Ocana-Guzman Dec.

   ¶ 6 (Appx II, Exh. J, at 55-60).

          There are at least three housing units of approximately 48, 59, and 120 people, one of

   which includes a detained person with prostate cancer, that are under cohort quarantine. See

   Portuondo Dec. at ¶ 11 (Appx II, Exh. A, at 1-9); Perez Limones Dec. at ¶ 7 (Appx II, Exh. M, at

   75-78); Gayle Dec. at ¶ 12 (Appx II, Exh. B, at 10-14); Cardenas Dec. at ¶ 7 (Appx II, Exh. N, at

   79-83). Petitioner Gayle is housed in a quarantined pod with 120 detained individuals, which has

   a sign on the wall that says the maximum capacity is 80. See Gayle Dec. at ¶¶ 6, 12 (Appx II,

   Exh. B, at 10-14). Detained individuals in these units share toilets and showers that are less than

   six feet apart. See Portuondo Dec. at ¶ 11 (Appx II, Exh. A, at 1-9). The room of 48 men has

   only three urinals and one toilet. Cardenas Dec. at ¶ 11 (Appx II, Exh. N, at 79-83). At least one

   of the rooms under cohort quarantine still leaves their room once a day to interact with hundreds

   of other detained individuals in the recreation area, where the men are crowded into a small

   space. Cardenas Dec. at ¶ 7 (Appx II, Exh. N, at 79-83). During communal meals, individuals are

   forced to eat in close contact with each other. See Mendez-Escobar Dec. ¶ 14 (Appx II, Exh. H,

   at 47-51).

          A recent photograph, from a Miami Herald Article, of one of the general population units

   at Krome shows men crowded into the common space. (Appx I, Exh. P, at 327-335, 334). None

   of the men in the photograph are wearing masks or gloves. Men are crowded around small tables.

   The bunk beds are located within a few feet of each other and of the tables. Social distancing is

   impossible in this setting.

          Despite the COVID-19 threat, Respondents continue to detain new people at Krome. See

   Arrak Dec. ¶ 27 (Appx II, Exh. O, at 84-90)




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          Some detained individuals who require additional mental health and behavioral care are

   housed in the Krome Behavioral Health Unit (“BHU”), which is split into two sections. One unit

   can house 22 people, while the other can house eight people. Hasan Dec. ¶ 6 (Appx II, Exh. R, at

   106-12). Individuals in the BHU typically share a room with another person, and sleep less than

   six feet apart. See Warsane Dec. ¶ 9 (Appx II, Exh. Q, at 98-105); Farah Dec. ¶ 6 (Appx II, Exh.

   P, at 91-97). Two detained individuals in the BHU do not currently share a room while sleeping,

   but are in close contact with others in the unit when in communal areas. See Hasan Dec. ¶ 7-8

   (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 6-7 (Appx II, Exh. O, at 84-90); Farah Dec. ¶ 10

   (Appx II, Exh. P, at 91-97).

          Detained individuals in BHU are required to go to the recreation yard twice a day for an

   hour, despite complaints that the area is too small to allow social distancing. See Hasan Dec. ¶ 30

   (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 12 (Appx II, Exh. O, at 84-90); Farah Dec. ¶ 21

   (Appx II, Exh. P, at 91-97). The guards threaten them with being sent to the “hole,” or

   Segregated Housing Unit, unless they go to recreation. Arrak Dec. ¶ 12 (Appx II, Exh. O, at 84-

   90). Some detained individuals feel they need to go into disciplinary housing or remain isolated

   in their rooms to prevent the risk of infection, but are concerned their mental health conditions,

   including post-traumatic stress disorder and major depressive disorder, will worsen. Arrak Dec. ¶

   7 (Appx II, Exh. O, at 84-90); Hasan Dec. ¶ 9 (Appx II, Exh. R, at 106-12).

          Meals in the BHU are served in the dayroom to all detained individuals at the same time,

   but there are only two tables and few chairs, and some have to sit on the floor to eat. Warsane

   Dec. ¶ 12 (Appx II, Exh. Q, at 98-105); Hasan Dec. ¶ 7 (Appx II, Exh. R, at 106-12); Farah Dec.

   ¶ 10 (Appx II, Exh. P, at 91-97). The tables and two phones in the dayroom that all detained

   individuals in BHU use are not being cleaned. Warsane Dec. ¶ 12 (Appx II, Exh. Q, at 98-105);




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   Hasan Dec. ¶ 31 (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 10 (Appx II, Exh. O, at 84-90). They

   only have toilet paper available to clean the tables in the common area, and one man reports

   using toilet paper to clean his room. See Warsane Dec. ¶ 23 (Appx II, Exh. Q, at 98-105); Farah

   Dec. ¶ 18 (Appx II, Exh. P, at 91-97). Krome staff bring food in a cart to the unit for all meals,

   but do not wear masks or gloves despite requests from the detained population to do so. Warsane

   Dec. ¶ 21 (Appx II, Exh. Q, at 98-105). The guards laugh at these requests. Warsane Dec. ¶ 22

   (Appx II, Exh. Q, at 98-105).

          Detained individuals are requesting face masks, but staff have not provided them and

   have said they are not necessary for detainees or are only for officers. See Warsane Dec. ¶ 25

   (Appx II, Exh. Q, at 98-105); Hasan Dec. ¶ 19-20 (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 15,

   21 (Appx II, Exh. O, at 84-90); Farah Dec. ¶ 11 (Appx II, Exh. P, at 91-97).

          Soap has not been readily available, and some individuals have not been able to shower

   unless they had funds to purchase soap from commissary. Warsane Dec. ¶ 17 (Appx II, Exh. Q,

   at 98-105); Hasan Dec. ¶ 11, 13 (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 8, 23 (Appx II, Exh.

   O, at 84-90); Farah Dec. ¶ 20 (Appx II, Exh. P, at 91-97). Even when purchased, detained

   individuals are not being given these items for several days and are running out of essentials like

   soap and shampoo. Warsane Dec. ¶ 18 (Appx II, Exh. Q, at 98-105); Hasan Dec. ¶ 11 (Appx II,

   Exh. R, at 106-12); Farah Dec. ¶ 20 (Appx II, Exh. P, at 91-97). Hand sanitizer appears to be

   only available to nurses, who sometimes spray sanitizer on detained individuals’ hands when

   they are receiving medication. See Hasan Dec. ¶ 14 (Appx II, Exh. R, at 106-12); Arrak Dec. ¶

   25 (Appx II, Exh. O, at 84-90); Farah Dec. ¶ 9 (Appx II, Exh. P, at 91-97).

          Individuals taking prescription medication see nurses twice a day, in the morning and

   evening. Warsane Dec. ¶ 20 (Appx II, Exh. Q, at 98-105). Nurses are not consistently wearing




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   gloves or masks when dispensing medication or checking if the person has swallowed the

   medication. Warsane Dec. ¶ 20 (Appx II, Exh. Q, at 98-105). Guards pat down detained

   individuals several times a day and do shakedowns of bedrooms three times per day, but do not

   always wear gloves or masks. Warsane Dec. ¶ 29 (Appx II, Exh. Q, at 98-105); Hasan Dec. ¶ 23,

   24 (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 18 (Appx II, Exh. O, at 84-90); Farah Dec. ¶ 12-14

   (Appx II, Exh. P, at 91-97). Around April 8, five guards were sent home while others are

   working overtime. Warsane Dec. ¶ 33 (Appx II, Exh. Q, at 98-105); Hasan Dec. ¶ 21, 28 (Appx

   II, Exh. R, at 106-12); Farah Dec. ¶ 16 (Appx II, Exh. P, at 91-97).

          The number of people in all of the general population units is high, and new detained

   individuals have continued to come in over the past few weeks. See Darwyn Dec. ¶ 6(j) (Appx II,

   Exh. E, at 30-34); Tolentino Dec. ¶ 6, 11 (Appx II, Exh. S, at 113-17); Tepetate-Martinez Dec. at

   ¶ 15 (Appx II, Exh. T, at 118-23); Gayle Dec. at ¶ 11 (Appx II, Exh. B, at 10-14 ); Arias-

   Martinez Dec. at ¶ 10 (Appx II, Exh. C, at 15-21); Khan Dec. at ¶ 8(k) (Appx II, Exh. L, at 68-

   74). Petitioner Aparicio has seen about 15 new detained individuals in his unit in the last two

   weeks. See Aparicio Dec. ¶ 7 (Appx II, Exh. F, at 35-39).

          As recently as April 4, 2020, new detained individuals have been transferred to Krome

   and were not being tested to determine whether they have COVID-19. See Jalloh Dec. ¶ 13

   (Appx II, Exh. D, at 22-29); Portuondo Dec. at ¶ 13 (Appx II, Exh. A, 1-9).

          At least two of the detained individuals recently transferred to Krome had fevers, one of

   whom was visibly shaking in the dining room. Both were eventually taken out of the general

   population. See Arias-Martinez Dec. at ¶ 10 (Appx II, Exh. C, at 15-21). One detained person

   who contracted a severe fever was removed from his room in the middle of the night by ICE

   agents, who were accompanied by police officers carrying guns with rubber bullets. See




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   Cardenas Dec. at ¶ 8 (Appx II, Exh. N, 79-83). The officers would not explain to the other men

   in the room what was happening, and the next night a new man was brought to fill the bed of the

   sick man. Id. Since then, at least four other men in that sick man’s room have developed

   COVID-19 symptoms, and have not been able to see a doctor. Cardenas Dec. at ¶ ¶ 6, 8 (Appx

   II, Exh. N, 79-83). One of these men has asthma, putting him at severe risk of dying from

   COVID-19. See Cardenas Dec. at ¶ 5 (Appx II, Exh. N, 79-83).

          One detainee tested positive for COVID-19, and the two officers who were watching him

   also tested positive. See Portuondo Dec. at ¶ 14 (Appx II, Exh. A, 1-9); Chavez Dec. at ¶ 13

   (Appx II, Exh. G, at 40-46).

          Approximately 60 Krome employees have been placed under quarantine, after a total of

   four staff tested positive for COVID-19. See Cardenas Dec. at ¶ 9 (Appx II, Exh. N, 79-83). The

   facility is so understaffed that some employees are now working 12-hour shifts. Id. at ¶ 9 (Appx

   II, Exh. N, 79-83).

           Detained individuals have been transported in and out of Krome to hospital and medical

   visits since the outbreak, potentially having contact with infected individuals. See Portuondo

   Dec. at ¶ 6 (Appx II, Exh. A, 1-9).

          The detained individuals are close together when they eat because the tables and chairs

   where they eat cannot be moved. See Portuondo Dec. at ¶ 16 (Appx II, Exh. A, 1-9); Abdul

   Jalloh Dec. ¶ 15 (Appx II, Exh. D, at 22-29); Tolentino Dec. ¶ 8 (Appx II, Exh. S, at 113-17);

   Alfaro Garcia Dec. ¶ 16 (Appx II, Exh. K, at 61-67); Tepetate-Martinez Dec. ¶ 7 (Appx II, Exh.

   T, at 118-23); Tolentino Dec. ¶ 5b (Appx II, Exh. S, at 113-17); Perez Limones Dec. ¶ 13 (Appx

   II, Exh. M, at 75-78); Chavez Dec. ¶ 14 (Appx II, Exh. G, at 40-46).




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          Detained individuals are not being provided with masks or gloves, even when they are in

   cohort quarantine. See Portuondo Dec. ¶ 25 (Appx II, Exh. A, 1-9); Khan Dec. ¶ 8(c) (Appx II,

   Exh. L, at 68-74); Escobar Dec. ¶ 8 (Appx II, Exh. H, at 47-51); Zamora Mendoza Dec. ¶ 11

   (Appx II, Exh. I, at 52-54). Portuondo reported that there is one soap dispenser at the entrance to

   the toilet area in his pod, which was only installed 7 or 8 days ago. See Portuondo Dec. at ¶ 21

   (Appx II, Exh. A, 1-9). They have a weekly allowance of soap and some use less than needed to

   make sure not to run out. See Abdul Jalloh Dec. ¶ 21 (Appx II, Exh. D, at 22-29). Because

   Krome does not provide enough personal hygiene products, detained individuals must buy them

   in the commissary. See Tolentino Dec. ¶ 10 (Appx II, Exh. S, at 113-17). But the commissary is

   now closed and people now have to submit a request to order items, which can take anywhere

   from two days to over a week to arrive. See Farah Dec. ¶ 20 (Appx II, Exh. P, at 91-97).

          There are no masks, gloves, or hand sanitizer available for purchase. See Portuondo Dec.

   ¶ 22 (Appx II, Exh. A, 1-9); Gayle Dec. ¶ 9 (Appx II, Exh. B, at 10-14); Arias-Martinez Dec. ¶

   13 (Appx II, Exh. C, at 15-21); Jalloh Dec. ¶ 22 (Appx II, Exh. D, at 22-29); Chavez Dec. ¶ 18

   (Appx II, Exh. G, at 40-46).

          When detained individuals try to make their own masks, they are told they are not

   allowed to cover their faces. See Aparicio Dec. ¶ 7 (Appx II, Exh. F, at 35-39); Escobar Dec. ¶ 8

   (Appx II, Exh. H, at 47-51).

          There is no hand sanitizer available in the common area. See Portuondo Dec. at ¶ 20

   (Appx II, Exh. A, 1-9); Alfaro Garcia Dec. at ¶ 11 (Appx II, Exh. K, at 61-67); Tepetate-

   Martinez Dec. at ¶ 8 (Appx II, Exh. T, at 118-23); Darwyn Dec. ¶ 5(d) (Appx II, Exh. E, at 30-

   34); Chavez Dec. at ¶ 16 (Appx II, Exh. G, at 40-46). Detained individuals have reported seeing




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   the guards with hand sanitizer but detained individuals are not allowed to use it. See Portuondo

   Dec. at ¶ 20 (Appx II, Exh. A, 1-9); Chavez Dec. at ¶ 16 (Appx II, Exh. G, at 40-46).

          There is hand sanitizer in the nurse’s area where detained men receive medication. See

   Abdul Jalloh Dec. ¶ 21 (Appx II, Exh. D, at 22-29). However, detained individuals are only

   allowed one squirt when receiving medication. See Farah Dec. ¶ 9 (Appx II, Exh. P, at 91-97).

          Until recently, Krome staff were not wearing masks or gloves. See Portuondo Dec. at ¶

   25 (Appx II, Exh. A, 1-9); Abdul Jalloh Dec. ¶ 25 (Appx II, Exh. D, at 22-29 ); Perez Limones

   Dec. at ¶ 11 (Appx II, Exh. M, at 75-78); Chavez Dec. at ¶ 21 (Appx II, Exh. G, at 40-46). Some

   officers still fail to wear gloves or masks. See Warsane Dec. ¶ 21, 29 (Appx II, Exh. Q, at 98-

   105); Hasan Dec. ¶ 23, 24 (Appx II, Exh. R, at 106-12); Arrak Dec. ¶ 18; Farah Dec. ¶ 12-14

   (Appx II, Exh. P, at 91-97); Portuondo Dec. at ¶ 26 (Appx II, Exh. A, 1-9); Chavez Dec. at ¶ 22

   (Appx II, Exh. G, at 40-46). Guards are seen touching their faces and then things in the pods,

   such as people, food trays and other items in the living area, and they are not observed washing

   their hands often. See Abdul Jalloh Dec. ¶ 26-28 (Appx II, Exh. D, at 22-29); Alfaro Garcia Dec.

   at ¶¶ 10-11, 14 (Appx II, Exh. K, at 61-67); Tepetate-Martinez Dec. at ¶¶ 13-14 (Appx II, Exh.

   T, at 118-23); Darwyn Dec. ¶ 6(h)-(i) (Appx II, Exh. E, at 30-34); Portuondo Dec. at ¶ 27 (Appx

   II, Exh. A, 1-9); Chavez Dec. at ¶ 23 (Appx II, Exh. G, at 40-46).

          Detained individuals have not seen efforts to clean or disinfect areas more frequently.

   Escobar Dec. ¶ 10 (Appx II, Exh. H, at 47-51). Detained individuals serve the food and clean the

   facility, but are not provided with masks when working these jobs. See Abdul Jalloh Dec. ¶ 16-

   18 (Appx II, Exh. D, at 22-29); Aparicio Dec. ¶ 7 (Appx II, Exh. F, at 35-39); Tepetate-Martinez

   Dec. at ¶ 10 (Appx II, Exh. T, at 118-23); Perez Limones Dec. at ¶ 14 (Appx II, Exh. M, at 75-

   78). Detained individuals prepare and touch the food, distribute the clothing, and they do not use




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   gloves or masks or use other hygiene measures to help ensure that the virus does not spread. See

   Darwyn Dec. ¶ 6(a)-(d) (Appx II, Exh. E, at 30-34).

          Detained individuals report that a nurse said masks were being reused because of supply

   shortages. See Portuondo Dec. at ¶ 25 (Appx II, Exh. A, 1-9); Chavez Dec. at ¶ 21 (Appx II, Exh.

   G, at 40-46).

          Detained individuals have not been trained on how to limit the spread of COVID-19. See

   Portuondo Dec. at ¶ 23 (Appx II, Exh. A, 1-9). See Abdul Jalloh Dec. ¶¶ 19, 23 (Appx II, Exh.

   D, at 22-29); Alfaro Garcia Dec. at ¶ 18 (Appx II, Exh. K, at 61-67); Arias-Martinez Dec. at ¶ 14

   (Appx II, Exh. C, at 15-21); See Darwyn Dec. ¶ 8 (Appx II, Exh. E, at 30-34). They are only

   getting information from Krome staff when they or their families ask, but all they are told is that

   there are thousands of COVID-19 cases in the country. See Aparicio Dec. ¶ 9 (Appx II, Exh. F,

   at 35-39).

          As of April 7, 2020, detained individuals have had their TVs, phones, and tablets

   confiscated. See Portuondo Dec. at ¶ 19 (Appx II, Exh. A, 1-9). No unit within Krome is allowed

   to watch TV. See Portuondo Dec. at ¶ 19 (Appx II, Exh. A, 1-9); Alfaro Garcia Dec. at ¶ 7 (Appx

   II, Exh. K, at 61-67); See Darwyn Dec. ¶ 8 (Appx II, Exh. E, at 30-34).

          A recent emergency that was announced over the speakers at Krome was due to COVID-

   19. See Abdul Jalloh Dec. ¶ 29 (Appx II, Exh. D, at 22-29).

          On April 7, some detained individuals raised concerns about conditions and fears of

   COVID-19 and guards began beating them. Flores Ramos Dec. ¶ 20 (Appx II, Exh. U, at 124-

   30). One person was kicked in the ribs although he was not among those making complaints.

   Flores Ramos Dec. ¶ 20 (Appx II, Exh. U, at 124-30). The guards are not allowing detained




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   people to contact their attorneys, which that man believes is retaliation in response to these

   complaints. Flores Ramos Dec. ¶ 21 (Appx II, Exh. U, at 124-30).

             Since the COVID-19 outbreak at Krome, there has been a decrease in medical staff. See

   Abdul Jalloh Dec. ¶ 35 (Appx II, Exh. D, at 22-29). There has been no increase in screenings.

   See Darwyn Dec. ¶ 10 (Appx II, Exh. E, at 30-34). Detained individuals who request evaluation

   and to see a doctor have had their requests denied. See Darwyn Dec. ¶ 7, 11 (Appx II, Exh. E, at

   30-34).

             When someone is sick with cold symptoms, they must wait five to eight days before they

   can see a doctor. See Aparicio Dec. ¶ 8 (Appx II, Exh. F, at 35-39); Gayle Dec. at ¶ 8 (Appx II,

   Exh. B, at 10-14); Perez Limones Dec. at ¶ 8 (Appx II, Exh. M, at 75-78). When other detained

   individuals are taken out of the pods for coughing or issues with breathing, the other detained

   individuals are not told whether they have been exposed to COVID-19. See Gayle Dec. at ¶ 10

   (Appx II, Exh. B, at 10-14).

             A detained man was sick with a cough and requested to see a doctor, but was told that he

   was not a priority. See Abdul Jalloh Dec. ¶ 14 (Appx II, Exh. D, at 22-29). He was not isolated

   from the rest of the pod. Id (Appx II, Exh. D, at 22-29). Detained individuals have symptoms,

   including fever, goosebumps, and cough, but the rest of the detained population is not being told

   what is wrong with them. See Alfaro Garcia Dec. at ¶ 12 (Appx II, Exh. K, at 61-67).

             If detained individuals have severe symptoms, they are taken to another area and

   provided with medication for headaches, but then returned to the pod. See Aparicio Dec. ¶ 8

   (Appx II, Exh. F, at 35-39). When one detainee developed a cough, a staff member took his

   temperature and gave him two pills, without explaining to him what was wrong with him. See

   Gayle Dec. at ¶ 8 (Appx II, Exh. B, at 10-14).




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          Detained individuals are not getting tested when they are sick, unless they are having

   difficulty breathing. See Aparicio Dec. ¶ 11 (Appx II, Exh. F, at 35-39).

          The medically vulnerable, due to chronic illnesses, are not being separated from the rest

   of the population. See Abdul Jalloh Dec. ¶ 32 (Appx II, Exh. D, at 22-29); Arias-Martinez Dec.

   at ¶ 9 (Appx II, Exh. C, at 15-21); Khan Dec. at ¶¶ 7-8 (Appx II, Exh. L, at 68-74).

          On Sunday, April 5, 2020, the Miami Herald reported that the Monroe County Jail ended

   its 23-year contract with the ICE Miami Field Office, and returned 48 detained individuals to the

   Krome “in the middle of the night Friday.” “Sources told the Herald that the frequent trips to the

   crowded facility in Miami had the sheriff ’s office uneasy over the possibility that the

   coronavirus could easily be transmitted.” (Appx I, Exh. Q, 336-41.)

          On April 8, 2020, the Assistant Field Officer Liana J. Castano stated in a declaration to

   this court that Krome had 3 cases of laboratory confirmed positives for COVID-19 amongst staff

   and a detained individual, and that at least 238 detained individuals were exposed to a confirmed

   case of COVID-19. (Appx I, Exh. I, at 123-224 ¶ 12.) These 238 individuals who have been

   exposed to a person confirmed to have COVID-19 are being placed in “cohorts with restricted

   movement.” (Appx I, Exh. I, at 123 ¶ 10.)

          The day before, investigating from the Miami Herald was released which suggests that

   the number of people with the virus is underreported and “ ‘not completely accurate as testing is

   not conducted on site and detained individuals are sent to an off-site hospital to be tested,’ ”

   according to a federal official interviewed by the Herald. (Appx I, Exh. D, at 41.)

          The Miami Herald’s April 7, 2020, report also explained that “[f]or weeks — and as

   recently as Monday — U.S. Immigration and Customs Enforcement has repeatedly told the

   Herald that no detainees in their custody in Florida have tested positive for the virus. However,




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   the agency got around having to disclose that any detainee was sick with COVID-19 because the

   detainee was technically no longer on the premises — but rather at a hospital, federal sources

   say.” (Appx I, Exh. D, at 40-41.)

          Also, on April 7, 2020, four members of Congress directed a letter to ICE’s Deputy

   Director Matthew T. Albence, “urg[ing] [him] to significantly limit the number of immigrants

   held in detention and immediately expand [his] agency’s use of alternatives to detention (ATD)

   for qualified individuals” so that “[a] mass tragedy at Krome and other ICE facilities in Florida,

   including Broward Transitional Center and Glades County Detention Center, can be avoided.”

   (Appx I, Exh. R, at 342-43.) These members of Congress expressed that they were “deeply

   disturbed by ICE’s continued activity to transfer and detain large groups of immigrants in the

   midst of a global pandemic, especially at a facility where detainees and employees have tested

   positive.” (Appx I, Exh. R, at 342.)

          These four members of Congress also stated that “[i]t is undisputed that jails, prisons, and

   detention centers are highly vulnerable to COVID-19" due to the fact that “[e]ffective social

   distancing is almost impossible and necessary disinfectant is rarely available to detainees,” and

   especially so given that the situation in “Krome is particularly alarming in this respect” in light

   of reported “overcrowded conditions even prior to the impact of COVID-19.” (Appx I, Exh. R, at

   342.) They also added that “it appears that Krome is not at all prepared to mitigate exposure to

   COVID-19, or to adequately respond should an outbreak at the facility occur. These issues are

   only compounded by the fact that COVID-19 has now reached Krome.” (Appx I, Exh. R, at 342-

   43.)




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           Staff at Krome arrive and leave on a shift basis, and there is limited ability to adequately

   screen incoming staff for new, asymptomatic infection. Staff generally live in the communities

   near these facilities—areas where there are confirmed cases of COVID-19.

           The outbreak at Krome has affected the immigration court housed at the facility and run

   by the Executive Office for Immigration Review (“EOIR”). Krome Immigration Court is

   accessed through the same lobby as the detention center. Judges, court staff, and both

   government and defense attorneys have expressed concern about their safety and health.

          On March 22, 2020, the National Association of Immigration Judges (“NAIJ”), the ICE

   Professionals Union (“ICE Union”), and the American Immigration Lawyers Association

   (“AILA”), wrote a joint statement demanding that EOIR close all of the immigration courts

   nationwide, and stating, among other things, that:

          The DOJ’s current response to the COVID-19 pandemic and its spread is disconnected
          from the needs and advice of community leaders and scientific experts. The Immigration
          Courts are especially vulnerable to the spread of the Coronavirus. Every link in the chain
          that brings individuals to the court, from the use of public transportation, to security lines,
          crowded elevators, hallways, the cramped cubicle spaces of court staff, inadequate
          waiting room facilities in the courthouses, and scant sanitizing resources at the courts, all
          place lives at risk. Individuals who in many instances have waited years for a hearing
          may also feel pressured to appear – even if they feel sick, for fear of being ordered
          deported.

   (Appx I, Exh. S, at 345-47, 346)

          On March 26, 2020, the NAIJ, the ICE Union, AILA, and a multitude of other

   organizations wrote a letter directly to Attorney General Barr demanding the closure of all

   immigration courts nationwide, and stating that “detained courts must also be closed to in-person

   hearings in order to minimize the spread of the virus, slow the rate of new infections, and to

   avoid overwhelming local resources.” (Appx I, Exh. T, at 348-51.)




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          On March 30, 2020, the NAIJ issued an additional statement. The statement begins by

   quoting a “current immigration judge who is a U.S. military veteran” stating:

          I don't say this lightly, but EOIR has demonstrated that they need to be gutted and rebuilt
          from the ashes. I've never witnessed an utter lack of concern for people like I have here.
          In my former life, we treated captured Taliban and ISIS with more humanity. Moreover,
          I've never seen worse leadership. A crisis usually brings good and bad to the light. We
          have nothing but darkness.

   (Appx I, Exh. U, at 352-56, 352)

           That same day, Monday, March 30, 2020, at 7:50 a.m., without explanation, EOIR

   suddenly announced that the Krome Immigration Court was closed for hearings for two days.

   (Appx I, Exh. V, at 357)

          To date, there is yet to be a public explanation for why the Krome hearings were

   cancelled so abruptly. There are reports that the judges and court staff at Krome feared exposure

   to the virus and that the abrupt closure occurred to permit cleaning of the court facilities.

          The Krome Immigration Court remains closed at this time.

          Glades County Detention Center

          Glades is a county jail in Moorehaven, Florida. It can house roughly 500 ICE detained

   men and women at a time. (Appx I, Exh. K, at 162.) Detained individuals in ICE custody are

   split amongst six housing units, or “pods,” four designated for the men and two for the women.

   (Appx I, Exh. K, at 162.) Depending on the facility’s capacity, pods may contain a mix of

   individuals in ICE custody, custody of the U.S. Marshals, or under Glades County custody.

   (Appx I, Exh. K, at 140.)

          The cells where the detained individuals sleep are small, and there are six detained

   individuals in each cell, with three bunk beds that are placed close together. See Dairon Barredo

   Sanchez Dec. ¶ 8 (Appx II, Exh. V, at 131-38); Tahimi Perez ¶ 10 (Appx II, Exh. W, at 139-44);




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   Franklin Ramon Gonzalez ¶ 7 (Appx II, Exh. X, at 145-50). The detained individuals are only

   able to maintain about one-meter separation in their cells when they sleep. See Gerardo Vargas

   Dec. ¶ 7 (Appx II, Exh. Y, at 151-56); Francisco Rivero Valeron Dec. ¶ 7 (Appx II, Exh. Z, at

   157-62).

          Many detained individuals have experienced significant turnover of cellmates, having up

   to six or seven new cellmates since their detention in Glades. See Dairon Barredo Sanchez Dec. ¶

   6 (Appx II, Exh. V, at 131-38); Gerardo Vargas Dec. ¶ 6 (Appx II, Exh. Y, at 151-56); Tahimi

   Perez ¶ 9 (Appx II, Exh. W, at 139-44); Franklin Ramon Gonzalez ¶ 6 (Appx II, Exh. X, at 145-

   50).

          There are approximately 95 detained individuals in a pod at a time. See Dairon Barredo

   Sanchez Dec. ¶ 17 (Appx II, Exh. V, at 131-38); Francisco Rivero Valeron Dec. ¶ 7 (Appx II,

   Exh. Z, at 157-62). The pods are so crowded, that social distancing at a safe six feet distance is

   impossible, especially with the constant influx of detained individuals. See Dairon Barredo

   Sanchez Dec. ¶ 12 (Appx II, Exh. V, at 131-38); Gerardo Vargas Dec. ¶ 6, 8 (Appx II, Exh. Y, at

   151-56); Irvin Mendoza Silis Dec. ¶ 6 (Appx II, Exh. AA, at 163-67); Francisco Rivero Valeron

   Dec. ¶ 7 (Appx II, Exh. Z, at 157-62); Tahimi Perez ¶ 13 (Appx II, Exh. W, at 139-44); Franklin

   Ramon Gonzalez ¶ 11 (Appx II, Exh. X, at 145-50).

          All detained individuals in a pod also share communal bathrooms and showers, which do

   not have six feet of distance between them, making it impossible to maintain a safe social

   distance even while using the restroom or bathing. See Dairon Barredo Sanchez Dec. ¶ 13 (Appx

   II, Exh. V, at 131-38); Gerardo Vargas Dec. ¶ 6 (Appx II, Exh. Y, at 151-56); Franklin Ramon

   Gonzalez ¶ 6 (Appx II, Exh. X, at 145-50).




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          Unlike BTC or Krome, there is no cafeteria. Detained individuals eat in the communal

   seating area in their pod, known as “satellite feeding.” (Appx I, Exh. K, at 162.) The tables used

   for eating and daily living usually seat four people, but due to overcrowding, they are now

   seating five to six people at a time. See Gerardo Vargas Dec. ¶ 7 (Appx II, Exh. Y, at 151-56).

   As a result, there is only about 40 to 50 centimeters of separation between detained individuals

   when they are eating at the tables. See Francisco Rivero Valeron Dec. ¶ 7 (Appx II, Exh. Z, at

   157-62).

          New detained individuals arrive at Glades every day, some already exhibiting flu like

   symptoms like coughing. See Roseline Ostine Dec. ¶ 9 (Appx II, Exh. BB, at 168-72). There is

   no indication that new detained individuals are tested for COVID-19 or routinely quarantined

   before being placed in the pod with the rest of the detained individuals. Id (Appx II, Exh. BB, at

   168-72); Dairon Barredo Sanchez Dec. ¶ 9 (Appx II, Exh. V, at 131-38); Francisco Rivero

   Valeron Dec. ¶ 11 (Appx II, Exh. Z, at 157-62); Tahimi Perez Dec. ¶ 10 (Appx II, Exh. W, at

   139-44).

          In all six pods, individuals share many common spaces and touch the same surfaces. All

   six units and the segregation unit share a common law library. In each pod, there are only four

   phones available per pod that everyone must share, and people must also share tablets. Similarly,

   all detained individuals in the segregation unit share the same two phones.

          There are no sanitizing wipes or cleaning supplies available to wipe down the phones in

   between calls, therefore the detained individuals are forced to use just a wet paper towel in an

   attempt to clean the phones before and after use. See Francisco Rivero Valeron Dec. ¶ 9 (Appx

   II, Exh. Z, at 157-62).




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           Contractors and detained individuals have continuously reported unsanitary physical

   conditions, lack of medical care, and physical mistreatment. (Appx I, Exh. K, at 162.) Glades has

   failed to substantively remedy these poor conditions.

           Unsanitary bathrooms are a persistent problem. The jail forbids the use of bleach for

   cleaning the bathrooms. (Appx I, Exh. K, at 162.) Shampoo is typically used as a substitute for

   soap. (Appx I, Exh. K, at 162.) There is mold in the bathrooms. (Appx I, Exh. K, at 162.); (Appx

   I, Exh. W, at 367-68) (DHS Office of Inspector Gen. Report OIG-18-32, noting lack of

   cleanliness, limited hygienic supplies, and potentially unsafe food handling).

           There have been reports of inedible food provided to detained individuals. (Appx I, Exh.

   K, at 163.) The “drinking water has a yellowish hue and an odd taste.” (Appx, Exh. K, at 163).

           The spread of cough, flu, and other respiratory conditions in the dorms have been

   attributed to the unsanitary conditions. (Appx I, Exh. K, at 162.) Even before the COVID-19

   pandemic, Glades failed to provide adequate medical care to detained women and men. (Appx I,

   Exh. E, at 58-60; 80-81.)27

           Glades only has one doctor in the facility, who is only available four times a week. (Appx

   I, Exh. K, at 163.) Critical medical care is routinely delayed—sometimes for months—or denied

   outright. (Appx I, Exh. K, at 141-42; 163-64). When medical requests are finally addressed,

   individuals report not being properly treated or not treated at all. (Appx I, Exh. K, at 163.)

   Providing ibuprofen or Tylenol is commonly used as a blanket solution to any and all medical

   issues. (Appx I, Exh. K, at 163.) For individuals with chronic medical conditions, it can take




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        See also Legal Aid Service of Broward County, Complaint and Request for Investigation
   Glades Detention Center in Moore Haven, Florida Physical Abuse, Inappropriate Use of
   Segregation, Denial of Medical and Mental Health Care and Lack of Attorney Access (January 8,
   2018), https://media.law.miami.edu/clinics/pdf/2018/OIG-complaint-against-glades.pdf].

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   months of grievances and sick calls to receive diagnostic testing or to see a specialist off-site.

   (Appx I, Exh. K, at 142)

           Because Glades fails to meet detained individual’s medical needs under normal

   circumstances, the jail is ill-suited to provide adequate medical treatment amidst the COVID-19

   pandemic. This failure is so severe that it cannot be remedied quickly to respond to COVID-19,

   especially in a time when healthcare resources are in high demand.

          For years, detained women and men have reported “that officers routinely misuse pepper

   spray, use excessive force and racial slurs, and overuse isolation in a retaliatory manner.” (Appx

   I, Exh. K, at 164-65). One detained individual with respiratory problems reported being pepper

   sprayed in an isolation cell, which triggered an asthma attack. (Appx I, Exh. K, at 165.) The lack

   of ventilation and the unsanitary conditions further aggravated his respiratory difficulties. (Id.)

          Detention center staff have failed to train detained individuals about hygiene measures

   designed to limit the spread of COVID-19. See Dairon Barredo Sanchez Dec. ¶ 30 (Appx II, Exh.

   V, at 131-38); Gerardo Vargas Dec. ¶ 12 (Appx II, Exh. Y, at 151-56); Francisco Rivero Valeron

   Dec. ¶ 13 (Appx II, Exh. Z, at 157-62); Franklin Ramon Gonzalez ¶ 15 (Appx II, Exh. X, at 145-

   50). The only information detained individuals receive about COVID-19 is from the television or

   posters on the wall. See Dairon Barredo Sanchez Dec. ¶ 30, 33 (Appx II, Exh. V, at 131-38).

          Detained individuals are now being provided with half the amount of soap they are

   normally provided with, equaling one 4-ounce bottle per week, when they were previously

   provided with two bottles per week. See Roseline Ostine Dec. ¶ 9 (Appx II, Exh. BB, at 168-72);

   Francisco Rivero Valeron Dec. ¶ 8 (Appx II, Exh. Z, at 157-62); Conlin Dec. (Appx I, Exh. J, at

   126-30.) Detained individuals are forced to ration this small portion of soap, one bottle, to cover




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   showering and hand washing for an entire week. Id; Franklin Ramon Gonzalez ¶ 13 (Appx II,

   Exh. X, at 145-50).

          The facility is not providing hand sanitizer, and there is none available for purchase in

   commissary. See Roseline Ostine Dec. ¶ 9 (Appx II, Exh. BB, at 168-72); Francisco Rivero

   Valeron Dec. ¶ 7-9 (Appx II, Exh. Z, at 157-62); Tahimi Perez Dec. ¶ 14-15 (Appx II, Exh. W, at

   139-44); Franklin Ramon Gonzalez Dec. ¶ 13 (Appx II, Exh. X, at 145-50).

          Detained individuals are not provided with masks or gloves. See Roseline Ostine Dec. ¶

   11 (Appx II, Exh. BB, at 168-72); Tahimi Perez Dec. ¶¶ 8, 14 (Appx II, Exh. W, at 139-44);

   Conlin Dec. ¶ 17 (Appx I, Exh. J, at 126-30). Even when detained individuals attempt to make

   their own masks out of their personal belongings, such as t-shirts, the guards tell them that they

   are not allowed to cover their faces with anything. See Dairon Barredo Sanchez Dec. ¶ 19 (Appx

   II, Exh. V, at 131-38); Franklin Ramon Gonzalez Dec. ¶ 14 (Appx II, Exh. X, at 145-50).

          There are no gloves or masks available for purchase in commissary. See Dairon Barredo

   Sanchez Dec. ¶ 29 (Appx II, Exh. V, at 131-38); Gerardo Vargas Dec. ¶ 11 (Appx II, Exh. Y, at

   151-56); Francisco Rivero Valeron Dec. ¶ 7, 9 (Appx II, Exh. Z, at 157-62); Franklin Ramon

   Gonzalez Dec. ¶ 14 (Appx II, Exh. X, at 145-50).

          Although some Glades staff have recently started wearing masks, the majority of the

   Glades staff do not use masks or gloves. See Roseline Ostine Dec. ¶ 9 (Appx II, Exh. BB, at 168-

   72); Dairon Barredo Sanchez Dec. ¶ 25 (Appx II, Exh. V, at 131-38); Gerardo Vargas Dec. ¶ 14

   (Appx II, Exh. Y, at 151-56); Francisco Rivero Valeron Dec. ¶ 10 (Appx II, Exh. Z, at 157-62).

          Although the staff are not using the proper protective gear, they still enter the living units,

   touch the detained individuals, their personal belongings, and the food trays. See Dairon Barredo

   Sanchez Dec. ¶ 25, 34 (Appx II, Exh. V, at 131-38); Gerardo Vargas Dec. ¶ 15 (Appx II, Exh. Y,




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   at 151-56); Francisco Rivero Valeron Dec. ¶ 10 (Appx II, Exh. Z, at 157-62). The detained

   individuals have not witnessed staff washing their hands. See Dairon Barredo Sanchez Dec. ¶ 31

   (Appx II, Exh. V, at 131-38); Francisco Rivero Valeron Dec. ¶ 10 (Appx II, Exh. Z, at 157-62).

          Many staff at Glades live in the surrounding communities where there are confirmed

   cases of COVID-19. Staff’s failure to use proper protective gear makes it all the more likely that

   COVID-19 will be spread from the staff to detained individuals.

          Detained individuals prepare meals for the entire detained population despite the lack of

   masks and gloves, and many of the detained individuals preparing the food have been exhibiting

   signs of sickness, such as coughing. See Dairon Barredo Sanchez Dec. ¶ 22 (Appx II, Exh. V, at

   131-38); Francisco Rivero Valeron Dec. ¶ 9 (Appx II, Exh. Z, at 157-62). The detained

   individuals also clean the facility, and they do not wear gloves or masks while they clean. See

   Dairon Barredo Sanchez Dec. ¶ 23 (Appx II, Exh. V, at 131-38); Francisco Rivero Valeron Dec.

   ¶ 9 (Appx II, Exh. Z, at 157-62). The walls of the facility are full of mold, so it is not clear how

   often or well they are being cleaned. See Irvin Mendoza Silis Dec. ¶ 6 (Appx II, Exh. AA, at

   163-67).

           Many detained individuals in the pods are exhibiting flu-like symptoms, including

   coughing and sneezing. See Dairon Barredo Sanchez Dec. ¶ 10 (Appx II, Exh. V, at 131-38);

   Francisco Rivero Valeron Dec. ¶ 13 (Appx II, Exh. Z, at 157-62); Tahimi Perez Dec. ¶ 11 (Appx

   II, Exh. W, at 139-44); Franklin Ramon Gonzalez Dec. ¶ 9 (Appx II, Exh. X, at 145-50). Some

   detained individuals are coughing up blood. See Dairon Barredo Sanchez Dec. ¶ 10 (Appx II,

   Exh. V, at 131-38).

          Despite these flu-like symptoms, there have been no known COVID-19 tests done in the

   Glades facility. See Gerardo Vargas Dec. ¶¶ 16, 17 (Appx II, Exh. Y, at 151-56); Irvin Mendoza




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   Silis Dec. ¶ 8 (Appx II, Exh. AA, at 163-67); Franklin Ramon Gonzalez Dec. ¶ 17 (Appx II, Exh.

   X, at 145-50).

          This remains true even among the population of detained individuals with medical

   vulnerabilities, including those with hypertension, diastolic heart failure, COPD, obesity, asthma,

   diabetes, and HIV. See Gerardo Vargas Dec. ¶ 17 (Appx II, Exh. Y, at 151-56); Irvin Mendoza

   Silis Dec. ¶ 8 (Appx II, Exh. AA, at 163-67); See Francisco Rivero Valeron Dec. ¶ 13 (Appx II,

   Exh. Z, at 157-62); Tahimi Perez Dec. ¶ 17 (Appx II, Exh. W, at 139-44); Franklin Ramon

   Gonzalez Dec. ¶ 5 (Appx II, Exh. X, at 145-50).

          The medically vulnerable are not being protected by being moved away from the general

   population or from those who are exhibiting flu-like symptoms. See Gerardo Vargas Dec. ¶ 10

   (Appx II, Exh. Y, at 151-56); Tahimi Perez Dec. ¶ 18 (Appx II, Exh. W, at 139-44).

          As of a couple days ago, 12 detained individuals were put into a

   “quarantine pod.” Franklin Ramon Gonzalez Dec. ¶ 12 (Appx II, Exh. X, at 145-50).

          Detained individuals are not able to see the medical staff in a timely manner, and when

   they are able to see the medical staff, their temperature is not being taken. See Dairon Barredo

   Sanchez Dec. ¶ 11 (Appx II, Exh. V, at 131-38).

          One detained individual was advised by a nurse that he had the flu, but another nurse

   informed him that he did not. See Dairon Barredo Sanchez Dec. ¶ 28 (Appx II, Exh. V, at 131-

   38).

          Broward Transitional Center

          BTC is an immigration detention center in Pompano Beach, Florida for “non-criminal

   and low security” detained individuals operated by a private contractor, the for-profit prison

   corporation The GEO Group, Inc. (“GEO”). (Appx I, Exh. K at 153.) GEO has its headquarters




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   in Boca Raton, Florida and is ICE’s largest contractor, holding more than $400 million in

   contracts with ICE.28

          Since it opened in 2002, “Broward has steadily grown in population capacity from 150

   detained women to 700 detained women and men.” (Appx I, Exh. K at 153.). There are 595 beds

   for men, and 105 for women. GEO’s contract with ICE includes a 500-bed quota, meaning that

   ICE is contractually obligated to pay for 500 beds regardless if they are being used.29 (Appx I,

   Exh. K at 153.)

          Each room in BTC has three sets of bunkbeds—housing up to six individuals per room

   that generally measures 10’ x 12’. All individuals in the room share a toilet, a shower and a sink.

   Moreover, all 700 individuals share common areas, such as the recreation area, phones, the law

   library, seating areas, and the cafeteria. The cafeteria holds 300 people per shift for three meals.

          GEO’s operation of BTC has been dogged by complaints including denial of medical and

   mental health care, using detained individuals for unpaid or cheap labor, expired and rotten food,

   and abusive staff.30 The DHS Office of Inspector General has repeatedly concluded that ICE fails

   to hold detention facility contractors accountable for meeting performance standards required to

   ensure humane conditions. DHS Office of Inspector Gen. Report OIG-19-18 (Appx I, Exh. X, at

   377-412); DHS Office of Inspector Gen. Report OIG-18-67 (Appx I, Exh. Y, at 413-46).

          Even before the COVID-19 pandemic, critical medical care at BTC has been routinely

   delayed—sometimes for months—or denied outright. (Appx I, Exh. K at 141-43, 153.)


   28
      https://www.miaminewtimes.com/news/boca-ratons-geo-group-is-ices-top-contractor-
   10504265.
   29
      Banking on Detention: Local Lockup Quota & the Immigrant Dragnet, Detention Watch
   Network & Center for Constitutional Rights (2015),
   https://www.detentionwatchnetwork.org/sites/default/files/reports/DWN%20CCR%20Banking%
   20on%20Detention%20Report.pdf.
   30
      Prison By any Other Name – SPLC 2019 report; BTC A ’Model‘ for Civil Detention – AIJ
   2013 Report.

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   Contractors and detained individuals have continuously reported inadequate medical and mental

   health care. In March 2012, an inspection documented its failure to transfer detained individuals

   to medical and mental health providers in a timely manner.31 Eight years later, BTC has failed to

   remedy this issue. Detained individuals report having to submit multiple medical requests before

   being medical—typically, only to be set back to their dorm with aspirin. (Appx I, Exh. K at 153.)

          At BTC, individuals with chronic medical conditions reported tremendous difficulties

   receiving necessary accommodations for their health problems, such as dietary accommodations.

   (Appx I, Exh. K at 143.) One individual remembered a man with diabetes losing a finger as a

   result of the inadequate medical care at BTC. (Appx I, Exh. K at 143.)

          During the summer of 2019, there was a mumps outbreak at BTC in which detained

   individuals were quarantined.32 A couple months after, an outbreak of an unknown stomach

   illness affected 16% of the facility’s population.33

          Now, with the COVID-19 outbreak, BTC has placed some detained individuals in what it

   is calling quarantine. These detained individuals are not in an actual quarantine because they are

   grouped together. See Bibiano Soares Dec. at ¶ 13 (Appx II, Exh. CC, at 173-79); Betancourt

   Dec. at ¶ 9 (Appx II, Exh. DD, at 18-85); Rosas Cardenas Dec. at ¶ 9 (Appx II, Exh. EE, at 186-

   90); Sonay Funez Dec. at ¶ 17 (Appx II, Exh. FF, at 191-97).




   31
      Office of Detention oversight Compliance Inspection Broward Transitional Center, U.S.
   Department of Homeland Securty (2012), https://www.ice.gov/doclib/foia/odo-compliance-
   inspections/2012browardtransitioncenter-pompanobeach-fl-feb28-mar1-2012.pdf.
   32
      Letter to ICE and Wardens from AI Justice, SPLC, AAAJ, and project South (Mar. 13, 2020),
   https://www.splcenter.org/sites/default/files/ltr_to_ice_and_wardens_re_covid-19_-_2020.03_-
   _final.pdf
   33
      Austen Erblat, Stomach bug hits 115 detainees at immigration center, South Florida Sun
   Sentinel (Nov. 5, 2019), https://www.sun-sentinel.com/local/broward/pompano-beach/fl-ne-
   pompano-beach-flu-outbreak-immigration-detention-center-20191105-
   xopjvimk4fgebbzcts7ausbdwu-story.html.

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          This “quarantined” group nonetheless uses the general population’s communal space at

   BTC when the general population is not using this space. As a result, the quarantine group

   touches the telephones, tables, tablets, and chairs. See Bibiano Soares Dec. at ¶ 13 (Appx II, Exh.

   CC, at 173-79); Betancourt Dec. at ¶ 9 (Appx II, Exh. DD, at 18-85).

          Detained men at BTC are sleeping in cells with five to six individuals in bunkbeds, which

   are not six feet apart. See Valera Ramirez Dec. at ¶ 6 (Appx II, Exh. GG, at 198-203); Sosa

   Fletes Dec. at ¶ 5 (Appx II, Exh. HH, at 204-08); Sontay Funez Dec. at ¶ 9 (Appx II, Exh. FF, at

   191-97); Rosas Cardenas Dec. at ¶ 6 (Appx II, Exh. EE, at 186-90); Betancourt Dec. at ¶ 5

   (Appx II, Exh. DD, at 18-85); Ferreira Borges Dec. at ¶ 6 (Appx II, Exh. II, 209-14). This

   sleeping arrangement makes it impossible to remain six feet apart and practice social distancing.

   See Sosa Fletes Dec. at ¶ 5 (Appx II, Exh. HH, at 204-08); Bibiano Soares Dec. at ¶ 7 (Appx II,

   Exh. CC, at 173-79); Rosas Cardenas Dec. at ¶ 6 (Appx II, Exh. EE, at 186-90); Betancourt Dec.

   at ¶ 5 (Appx II, Exh. DD, at 18-85); Ferreira Borges Dec. at ¶ 6 (Appx II, Exh. II, 209-14).

          The detained individuals are close to each together when they eat because the chairs are

   attached to the floor, they have to sit across from each other on the table, and there is not enough

   room to remain six feet apart. See Valera Ramirez Dec. at ¶ 6 (Appx II, Exh. GG, at 198-203);

   Sosa Fletes Dec. at ¶ 13 (Appx II, Exh. HH, at 204-08); Ferreira Borges Dec. at ¶ 7 (Appx II,

   Exh. II, 209-14); Rosas Cardenas Dec. at ¶ 6 (Appx II, Exh. EE, at 186-90); Rodas Pedro Dec. at

   ¶ 13 (Appx II, Exh. JJ, at 215-19). Detained individuals wait in line very close to each other

   while waiting to enter the dining hall. See Valera Ramirez Dec. at ¶ 6 (Appx II, Exh. GG, at 198-

   203); Betancourt Dec. at ¶ 5 (Appx II, Exh. DD, at 18-85).

          Some detained individuals are experiencing flu like symptoms, including coughing,

   congestion and difficulty breathing. See Bibiano Soares Dec. at ¶ 5 (Appx II, Exh. CC, at 173-




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   79); Sontay Funez Dec. at ¶ 15 (Appx II, Exh. FF, at 191-97); Valera Ramirez Dec. at ¶ 10

   (Appx II, Exh. GG, at 198-203).

          Despite having symptoms, detained individuals have difficulty being able to see the

   medical staff in a timely manner. See Valera Ramirez Dec. at ¶ 10 (Appx II, Exh. GG, at 198-

   203). One detainee with an unbearable cough submitted a written request, went twice to the

   medical office, and then complained to a guard, before he was allowed to see a doctor. See

   Valera Ramirez Dec. at ¶ 11 (Appx II, Exh. GG, at 198-203).

          There has been no known test of COVID-19 done in the BTC facilities. See Sosa Fletes

   Dec. at ¶ 11 (Appx II, Exh. HH, at 204-08); Sonay Funez Dec. at ¶ 10 (Appx II, Exh. FF, at 191-

   97).

          A recently transferred detained person reported having entered BTC with a bad cold and

   cough, but was never tested for COVID-19 or isolated from the general population. See Valera

   Ramirez Dec. at ¶ 10 (Appx II, Exh. GG, at 198-203); Soares Fletes Dec. at ¶ 9 (Appx II, Exh.

   HH, at 204-08); Ferreira Borges Dec. at ¶ 14 (Appx II, Exh. II, 209-14).

          Detained individuals have trouble accessing medical attention, including for serious

   chronic conditions such as asthma. See Borges Dec. at ¶ 5 (Appx II, Exh. II, 209-14); Rodas

   Pedro Dec. at ¶ 5 (Appx II, Exh. JJ, at 215-19). Medical staff have become so overwhelmed with

   the number of sick men detained in the facility that one doctor gave an individual his entire

   bottle of blood pressure medicine to take on his own, since she no longer had time to dispense

   his pill regularly. See Valera Ramirez Dec. at ¶ 14 (Appx II, Exh. GG, at 198-203).

          At least 40 men have been brought into BTC in the past few weeks. See Borges Dec. at ¶

   14 (Appx II, Exh. II, 209-14). New detained people have been placed immediately into shared

   rooms without being isolated first. See Borges Dec. at ¶14 (Appx II, Exh. II, 209-14); Rosas




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   Cardenas Dec. at ¶12 (Appx II, Exh. EE, at 186-90). One group of new arrivals came about one

   week ago from Krome, which already had confirmed COVID-19 cases, and they were placed

   with the general population of BTC. See Betancourt Dec. at ¶13 (Appx II, Exh. DD, at 18-85).

   Individuals detained at BTC were told the infected person at Krome was sent home. See Rodas

   Pedro Dec. at ¶ 7 (Appx II, Exh. JJ, at 215-19).

          There are no precautions taken to protect those who are medically vulnerable to COVID-

   19. See Bibiano Soares Dec. at ¶ 18 (Appx II, Exh. CC, at 173-79); Betancourt Dec. at ¶ 11

   (Appx II, Exh. DD, at 18-85); Valera Ramirez Dec. at ¶ 15 (Appx II, Exh. GG, at 198-203).

          Detained individuals prepare the food and clean at BTC. One detained person who

   previously prepared the food at BTC reported having flu like symptoms. See Bibiano Soares

   Dec. at ¶ 5 (Appx II, Exh. CC, at 173-79). Detained individuals who work in the kitchen do not

   always wear masks when preparing the food and are not taught COVID-19 hygiene measures. Id

   at ¶ 9 (Appx II, Exh. CC, at 173-79); Rodas Pedro Dec. at ¶ 14 (Appx II, Exh. JJ, at 215-19).

          Detained individuals have not observed greater efforts to clean in response to COVID-19.

   Rodas Pedro Dec. at ¶ 15 (Appx II, Exh. JJ, at 215-19). Most detained individuals are not

   provided with masks or gloves when they clean common areas. See Valera Ramirez Dec. at ¶ 8

   (Appx II, Exh. GG, at 198-203); Sosa Fletes Dec. at ¶ 7 (Appx II, Exh. HH, at 204-08). When

   asked to clean their cells, only one pair of gloves is provided. See Sonay Funez Dec. at ¶ 10

   (Appx II, Exh. FF, at 191-97). When masks and gloves are available, they are only for cleaning,

   otherwise there is no access to gloves and masks. See Betancourt Dec. at ¶ 6 (Appx II, Exh. DD,

   at 18-85).

          BTC staff not using protective gear enter living facilities and use their bare hands to

   touch detained individuals and their personal belongings. See Bibiano Soares Dec. at ¶ 15 (Appx




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   II, Exh. CC, at 173-79); Betancourt Dec. at ¶ 6 (Appx II, Exh. DD, at 18-85); Ferreira Borges

   Dec. at ¶ 13 (Appx II, Exh. II, 209-14), Valera Ramirez Dec. at ¶ 9 (Appx II, Exh. GG, at 198-

   203); Sosa Fletez Dec. at ¶ 8 (Appx II, Exh. HH, at 204-08); Sonay Funez Dec. at ¶ 17 (Appx II,

   Exh. FF, at 191-97). Borges Dec. at ¶13 (Appx II, Exh. II, 209-14). Recently staff have used

   their bare hands to conduct pat downs, to give men high fives, and to touch their phones, tables,

   and exercise equipment. See Valera Ramirez Dec. at ¶9 (Appx II, Exh. GG, at 198-203); Borges

   Dec. at ¶13 (Appx II, Exh. II, 209-14). The detained individuals have not seen staff washing their

   hands. See Bibiano Soares Dec. at ¶ 15 (Appx II, Exh. CC, at 173-79); Sosa Fletes Dec. at ¶ 8

   (Appx II, Exh. HH, at 204-08).

          Only some of the BTC staff have begun to use mask and gloves recently. See Bibiano

   Soares Dec. at ¶ 12 (Appx II, Exh. CC, at 173-79); Betancourt Dec. at ¶ 6 (Appx II, Exh. DD, at

   18-85); Ferreira Borges Dec. at ¶ 13 (Appx II, Exh. II, 209-14), Valera Ramirez Dec. at ¶ 9

   (Appx II, Exh. GG, at 198-203); Rosas Cardinas Dec. at ¶ 7 (Appx II, Exh. EE, at 186-90),

   Sonay Funez Dec. at ¶ 17 (Appx II, Exh. FF, at 191-97). Guards wear gloves when searching

   detainees, but do not always use them otherwise. See Rodas Pedro Dec. at ¶ 9 (Appx II, Exh. JJ,

   at 215-19).

          Detained individuals receive only a small allocation of soap each week, which often runs

   out. See Sosa Fletes Dec. at ¶ 6 (Appx II, Exh. HH, at 204-08); Sonay Funez Dec. at ¶ 11 (Appx

   II, Exh. FF, at 191-97); Valera Ramirez Dec. at ¶ 7 (Appx II, Exh. GG, at 198-203); Betancourt

   Dec. at ¶ 5 (Appx II, Exh. DD, at 18-85); Bibiano Soares Dec. at ¶ 10 (Appx II, Exh. CC, at 173-

   79). This small amount is supposed to last them for showers and hand washing, however

   detained individuals reported it is not enough. See Bibiano Soares Dec. at ¶ 10 (Appx II, Exh.

   CC, at 173-79); Betancourt Dec. at ¶ 5 (Appx II, Exh. DD, at 18-85); Ferreira Borges Dec. at ¶ 9




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   (Appx II, Exh. II, 209-14); Sosa Fletes Dec. at ¶ 6 (Appx II, Exh. HH, at 204-08). They have not

   been given hand sanitizer. See Rodas Pedro Dec. at ¶ 8 (Appx II, Exh. JJ, at 215-19).

          Detained individuals have not been given any formal education about hygiene measures

   to prevent the spread of COVID-19. See Bibiano Soares Dec. at ¶ 19 (Appx II, Exh. CC, at 173-

   79); Betancourt Dec. at ¶ 8 (Appx II, Exh. DD, at 18-85); Ferreira Borges Dec. at ¶ 16 (Appx II,

   Exh. II, 209-14), Valera Ramirez Dec. at ¶ 12 (Appx II, Exh. GG, at 198-203); Rosas Cardenas

   Dec. at ¶ 8 (Appx II, Exh. EE, at 186-90); Sosa Fletes Dec. at ¶ 8 (Appx II, Exh. HH, at 204-08);

   Sonay Funez Dec. at ¶ 17 (Appx II, Exh. FF, at 191-97); Rodas Pedro Dec. at ¶ 10 (Appx II,

   Exh. JJ, at 215-19). The only information they have received is from watching TV and posters on

   the wall. See Valera Ramirez Dec. at ¶ 12 (Appx II, Exh. GG, at 198-203); Rosas Cardenas Dec.

   at ¶ 8 (Appx II, Exh. EE, at 186-90).

          Detained individuals have no access to masks or gloves, even from the commissary.

   Borges Dec. at ¶ 12 (Appx II, Exh. II, 209-14); Betancourt Dec. at ¶10 (Appx II, Exh. DD, at 18-

   85).

          BTC staff rotate in and out of BTC on a regular basis. Staff generally live in the

   communities near BTC—areas where there many confirmed cases of COVID-19. BTC has a

   history of outbreaks of contagious illnesses. In November of 2019, there was a stomach flu

   outbreak at BTC during which 115 detained persons became ill.34 On March 17, 2020, detained

   persons at BTC were subjected to a 5-hour water stoppage, during which they had no access to

   water to wash their hands, bathe, or use the toilet.35




   34
      https://www.sun-sentinel.com/local/broward/pompano-beach/fl-ne-pompano-beach-flu-
   outbreak-immigration-detention-center-20191105-xopjvimk4fgebbzcts7ausbdwu-story.html
   35
      https://www.wlrn.org/post/coronavirus-live-updates-two-broward-election-poll-workers-test-
   postive-covid-19#stream/0

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            ICE’s Alternatives to Detention Program

            For over 15 years, DHS/ICE has sought and obtained congressional funding for its

   Alternatives to Detention (“ATD”) program, which uses supervised release, case management,

   and monitoring of individuals instead of detention.36 ICE has repeatedly told Congress that the

   ATD program increases ICE’s operational effectiveness and individual compliance with release

   conditions.

            The DHS FY2021 Congressional Budget Justification for ICE states that it costs $125.06

   per day to jail an adult immigration in ICE custody. The average cost per ATD participant is

   $4.43 per day. The DHS FY2021 funding request seeks to support 120,000 daily participants in

   ATD.37

            A 2014 GAO Report found that 95% of those on full-service ATD (those that include

   case management) appear for their final hearings.38 According to 2017 contract data, supervision




   36
      ICE’s current ATD program is called Intensive Supervision Appearance Program III (ISAP
   III). The program features different levels of case management including in-person or telephonic
   meetings, unannounced home visits, scheduled office visits, and court and meeting alerts. Some
   are also enrolled in technology-based monitoring including telephonic monitoring, GPS
   monitoring via ankle bracelet, and smart phone application monitoring called SmartLink that
   uses facial recognition and location monitoring via GPS. The private contractor that operates the
   program for ICE is BI, Inc., a wholly-owned subsidiary of The GEO Group, Inc. See CRS Report
   R45804, Immigration: Alternatives to Detention (ATD) Programs, (Jul. 8, 2019). On March 23,
   2020, DHS awarded BI, Inc. a 5-year $2.2 billion contract for continued ISAP support.
   https://beta.sam.gov/opp/2479131ff88f405999e126b52ff105f5/view
   37
      DHS/ICE FY2021 Congressional Budget Justification, at Operations & Support 132, 171, 173,
   https://www.dhs.gov/sites/default/files/publications/u.s._immigration_and_customs_enforcement
   .pdf. Due to court backlogs and delays for those who are non-detained, ATD participants are
   enrolled for a longer period of time than the period of time that individuals remain in detention.
   However, even considering the average length of stay in detention and the average length of time
   in ATD, taxpayers are paying an average of $4,000 more per individual detained than those
   released on ATD.
   38
      GAO-15-26, Alternatives to Detention, at 30 (Nov. 2014), available at
   https://www.gao.gov/assets/670/666911.pdf.

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   coupled with some case management results in a more than 99% appearance rate for all

   immigration court hearings, and a more than 91% appearance rate for final hearings.39

            As of April 4, 2020, ICE has 89,851 individuals enrolled in ATD, including 5,057 in the

   Miami area.40

                            PETITIONERS AND THE PROPOSED CLASS

            A district court may enter class-wide injunctive relief prior to certification of the

   proposed class. Sanchez v. McAleenan, No. 8:19-cv-01728-GJH, *11 (D. Md. Feb. 7, 2020)

   (Memorandum Opinion); J.O.P. v. United States of Dep’t of Homeland Security., No. GJH-119-

   1944, 2019 WL 3536786, at *4 (D. Md. Aug. 2, 2019); see also Gooch v. Life Inv’rs Ins. Co. of

   Am., 672 F.3d 402, 433 (6th Cir. 2012) (“Simply put, there is nothing improper about a

   preliminary injunction preceding a ruling on class certification.”); see also Newberg on Class

   Actions § 4:30 (5th Ed. 2013) (“[A] court may issue a preliminary injunction in class suits

   preceding a ruling on the merits.”)

            Petitioner-Plaintiffs bring this motion on behalf of a highly vulnerable putative class: all

   individuals in civil immigration detention at three Florida detention centers, Krome Service

   Processing Center, Broward Transitional Center, and Glades County Detention Center. Each

   individual is at imminent risk of contracting COVID-19 because of the life-threatening

   conditions under which they are confined—conditions that violate CDC guidelines and State and

   County orders as they pertain to COVID-19.




   39
      The Real Alternatives to Detention (June 2019), available at
   https://www.womensrefugeecommission.org/images/zdocs/The-Real-Alternatives-to-Detention-
   June-2019-FINAL-v-2.pdf.
   40
        ICE website, Detention Management, https://www.ice.gov/detention-management#tab2.

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            Named Petitioner-Plaintiffs bring this action as representatives of the following proposed

   class:

                All civil immigration detained individuals who are held, or who will be held,
            by Respondents at the Krome Service Processing Center (“Krome”), the Broward
            Transitional Center (“BTC”), and at Glades County Detention Facility (“Glades”)
            as of the time of the filing of this action who are:
                Sub-class A: detained individuals with a stable location and/or place of
            residency in which they can self-quarantine and practice social distancing and
            hygiene pursuant to the CDC guidelines and Exec. Order No. 20-91 upon release.
                Sub-class B: all other detained individuals without access to a stable location
            and/or place of residency in which they can self-quarantine and practice social
            distancing and hygiene pursuant to CDC guidelines and Exec. Order No. 20-91
            upon release.

                 Sub-class C: all other detained individuals who opt-out of Sub-class A & B.

            The proposed class meets the requirements of Federal Rules of Civil Procedure 23(a) and

   (b). The class is sufficiently numerous. Krome detains an average of 600 immigrant detained

   individuals at any time, with a population fluctuating between 550 and 875 people since 2006.

   Southern Poverty Law Center, Prison by any Other Name: A Report on South Florida Detention

   Centers (Appx I, Exh. K, at 131-234, 152).

            BTC detains on average 700 immigrant detained individuals at a time, with a mandatory

   minimum of 500 beds for immigrant detained individuals (Appx I, Exh. K, at 156.)

            Glades detains an average of 407 immigrant detained individuals at a time. (Appx I, Exh.

   K, at 165.)

            All immigrant detained individuals at Krome, BTC, and Glades are detained under the

   legal authority of Respondent Field Office Director, Miami Field Office, U.S. Immigration and

   Customs Enforcement. See Masingene v. Martin, __ F. Supp. 3d __, 2020 WL 465587 (S.D. Fla.

   Jan. 27, 2020).




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          All members of the class are bound together by common questions of law and fact – most

   prominently, whether in the face of the lethal COVID-19 pandemic, the continued detention of

   the class members at Krome, BTC, and Glades defies CDC guidelines and places the detained

   individuals’ safety and health at grave risk in a manner that amounts to unconstitutional

   punishment. The named Petitioners are proper class representatives because their claims are

   typical of the absent class members and because they and their counsel will adequately and

   vigorously represent the class. Rule 23(b)(2) is also satisfied here because the Respondents-

   Defendants have “acted or refused to act on grounds that apply generally to the class” through

   creating and maintaining conditions that put the class at imminent risk of contracting COVID-19,

   the deadly virus that is currently sweeping the globe.

                                       LEGAL FRAMEWORK

              A. Reasonable Safety

          The Due Process Clause provides that no person shall “be deprived of life, liberty, or

   property, without due process of law.” U.S. Const. amend. V. Its protections extend to every

   person within the nation’s borders regardless of immigration status. Mathews v. Diaz, 426 U.S.

   67, 77, (1976) (“Even one whose presence in this country is unlawful, involuntary, or transitory

   is entitled to that constitutional protection.”). When the government takes a person into custody

   and detains him against the person’s will, the Constitution imposes upon the Government a duty

   to assume responsibility for that detainee’s safety and general well being. See Helling v.

   McKinney, 509 U.S. 25, 32 (1993). Under the Eighth Amendment, the Government must provide

   criminal detainees with basic human needs, including reasonable safety. Helling, 509 U.S. at 32.

          The government violates the Eighth Amendment if it confines a criminal detainee in

   unsafe conditions. See Helling, 509 U.S. at 33. When the government detains a person for the




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   violation of an immigration law, the person is a civil detainee, even if he has a prior criminal

   conviction. See Zadvydas v. Davis, 533 U.S. 678, 690 (2001). As civil detainees, Petitioners are

   entitled to more considerate treatment than criminal detainees, whose conditions of confinement

   are designed to punish. See Marsh v. Fla. Dep’t of Corrections, 330 F. App’x 179 (11th Cir.

   2009) (quoting Youngberg v. Romeo, 457 U.S. 307, 322 (1982)).

          The Fifth Amendment Due Process Clause prohibits punishment of people in civil

   custody. Bell v. Wolfish, 441 U.S. 520, 535 n.16 (1979); Magluta v. Samples, 375 F.3d 1269,

   1273 (11th Cir. 2004); Hamm v. Dekalb County, 774 F.2d 1567, 1572 (11th Cir. 1985) (citing

   Ingraham v. Wright, 430 U.S. 651, 671 n. 40 (1977)). (1989).

          To establish that a particular condition or restriction of detention constitutes

   impermissible punishment, a petitioner must show either (1) an expressed intent to punish; or (2)

   lack of a reasonable relationship to a legitimate governmental purpose, from which an intent to

   punish may be inferred. See Wolfish, 441 U.S. at 538. Absent an explicit intention to punish, a

   court must apply a two-part test: “First, a court must ask whether any ‘legitimate goal’ was

   served by the prison conditions. Second, it must ask whether the conditions are ‘reasonably

   related’ to that goal.” Jacoby v. Baldwin County, 835 F.3d 1338, 1345 (11th Cir. 2016). “[I]f

   conditions are so extreme that less harsh alternatives are easily available, those conditions

   constitute ‘punishment.’” Telfair v. Gilberg, 868 F. Supp. 1396, 1412 (S.D. Ga. 1994) (citing

   Wolfish, 441 U.S. at 538-39 n.20).

          “[W]hen the State takes a person into its custody and holds him there against his will, the

   Constitution imposes upon it a corresponding duty to assume some responsibility for his safety

   and general well-being.” DeShaney v. Winnebago Cty. Dep’t. of Soc. Servs., 489 U.S. 189, 199-

   200 (1989). The government must provide detained individuals with basic necessities, such as




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   adequate medical care, food, clothing, and shelter; the failure to provide these necessities violates

   due process. Hamm, 774 F.2d at 1573; Cook ex rel. Estate of Tessier v. Sheriff of Monroe Cty.,

   402 F.3d 1092, 1115 (11th Cir. 2005).

            At a minimum, the Fifth Amendment Due Process Clause prohibits Respondents’

   deliberate indifference to a substantial risk of serious harm that would rise to the level of an

   Eighth Amendment violation in the post-conviction criminal context. Revere v. Mass. Gen.

   Hosp., 463 U.S. 239, 244, (1983) (“[T]he due process rights of a [detainee] are at least as great as

   the Eighth Amendment protections available to a convicted prisoner.”); see also Hale v.

   Tallapoosa County, 50 F. 3d 1579, 1582 n.4 (11th Cir. 1995).

            In order to show that Respondents are acting with deliberate indifference, Petitioners

   must show exposure to a substantial risk of serious harm of which Respondents are aware and

   have disregarded. Farmer v. Brennan, 511 U.S. 825, 834, 837-38 (1994); Marbury v. Warden,

   936 F.3d 1227, 1233 (11th Cir. 2019); Hale v. Tallapoosa Cty., 50 F.3d 1579, 1582 (11th Cir.

   1995).

            The government may violate the Eighth Amendment when it “ignore[s] a condition of

   confinement that is sure or very likely to cause serious illness and needless suffering the next

   week or month or year,” including “exposure of inmates to a serious, communicable disease,”

   even when “the complaining inmate shows no serious current symptoms.” Helling, 509 U.S. at

   33; see also id. at 34 (citing with approval Gates v. Collier, 501 F.2d 1291, 1300 (5th Cir. 1974),

   which held that prisoners were entitled to relief under the Eighth Amendment when they showed,

   inter alia, the mingling of “inmates with serious contagious diseases” with other prison inmates).

            Thus, the harm that Petitioners fear—i.e., that their confinement will result in a COVID-

   19 infection that will seriously injure and possibly kill them—need not become a reality to




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   establish a violation of their constitutional rights. Courts do not require a plaintiff to “await a

   tragic event” before seeking relief from a condition of confinement that unconstitutionally

   endangers them. See Helling, 509 U.S. at 33 (holding prisoner’s Eight Amendment claim could

   be based upon possible future harm to health, as well as present harm). “Nor does it matter that

   some inmates may not be affected by the condition, and that the harm is thus, in a sense, only

   potential harm. The Court has found an Eighth Amendment violation ‘even though it was not

   alleged that the likely harm would occur immediately and even though the possible infection

   might not affect all of those exposed.’” Tittle v. Jefferson Cty. Comm’n, 10 F.3d 1535, 1543

   (11th Cir. 1994) (quoting Helling, 509 U.S. at 33).

      B. Accardi Doctrine

          When the government has promulgated “[r]egulations with the force and effect of law,”

   those regulations “supplement the bare bones” of federal statutes. United States ex rel. Accardi v.

   Shaughnessy, 347 U.S. 260, 266, 268 (1954) (reversing in immigration case after review of

   warrant for deportation). Agencies must follow their own “existing valid regulations,” even

   where government officers have broad discretion, such as in the area of immigration. Id.; see

   also Morton v. Ruiz, 415 U.S. 199, 235 (1974) (“[I]t is incumbent upon agencies to follow their

   own procedures . . . even where [they] are possibly more rigorous than otherwise would be

   required.”); Battle v. FAA, 393 F.3d 1330, 1336 (D.C. Cir. 2005) (“Accardi has come to stand for

   the proposition that agencies may not violate their own rules and regulations to the prejudice of

   others.”). Breaches of Accardi’s rule constitute violations of both the Administrative Procedures

   Act (“APA”) and the Fifth Amendment’s Due Process Clause.

          While violations of “internal agency procedures” do not always require a remedy,

   Accardi’s rule applies with full force when “the rights or interests of the objecting party” are



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   “affected.” Monitlla v. INS, 926 F.2d 162, 167 (2d. Cir. 1991) (citing cases) (“Accardi doctrine is

   premised on fundamental notions of fair play underlying the concept of due process”); see also

   Wilson v. Comm’r of Soc. Sec., 378 F.3d 541, 545, 546 (6th Cir. 2004) (noting that an Accardi

   violation may be a due process violation, and the government’s action may be set aside pursuant

   to the APA); Sameena, Inc. v. U.S. Air Force, 147 F.3d 1148, 1153 (9th Cir. 1998) (“An

   agency’s failure to follow its own regulations . . . may result in a violation of an individual’s

   constitutional right to due process.”).

      C. State Created Danger

          The Due Process Clause imposes a duty on state actors to protect or care for citizens in

   when the state affirmatively places a particular individual in a position of danger the individual

   would not otherwise have faced." Gregory v. City of Rogers, 974 F.2d 1006, 1010 (8th Cir.

   1992) (en banc). The government violates an individual’s right to due process when it (1)

   “affirmatively place[s] [the] individual in danger,” (2) by “acting with ‘deliberate indifference to

   [a] known or obvious danger.’” Kennedy v. City of Ridgefield, 439 F.3d 1055, 1062 (9th Cir.

   2006) (quoting Munger v. City of Glasgow, 227 F.3d 1082, 1086 (9th Cir. 2000); L.W. v.

   Grubbs, 92 F.3d 894, 900 (9th Cir. 1996)).

          A duty of protection arises where the state has a custodial relationship with the

   individual, arising from such circumstances as incarceration in prison or involuntary

   commitment in a mental institution.” Davis v. Carter, 555 F.3d 979, 982 n.2 (11th Cir. 2009).




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                                                ARGUMENT

        I.       Petitioners and members of the proposed class are likely to succeed on the merits
                 of their claims

             A. Count One – Accardi Doctrine (Fifth Amendment/APA) – Violation of detention
                                                 Standards

              Under the Accardi doctrine, due process and the basic principle of administrative law

   dictate that rules promulgated by a federal agency regulating the rights and interests of others are

   controlling upon the agency. That doctrine is premised on the fundamental notion of fair play

   underlying the concept of due process.

              The Accardi doctrine applies with particular force when “the rights of individuals are

   affected.” Morton, 415 U.S. at 235.

              Krome, BTC and Glades are all subject to National Detention Standards that are issued

   by ICE, which set forth the medical care that must be provided to individuals in immigration

   detention. Both Krome and BTC are subject to ICE’s 2011 Performance-Based National

   Detention Standards (“PBNDS”). See (Appx I, Exh. N, at 253.)41 Glades is subject to ICE’s

   National Detention Standards (”NDS”). (Appx. I, Exh. K, at 152, 156.) The current governing

   version of the NDS is the 2019 National Detention Standards for Non-Dedicated Facilities.42

              Section 4.3(II)(10) of the PBNDS requires that “Centers for Disease Control and

   Prevention (CDC) guidelines for the prevention and control of infectious and communicable

   diseases shall be followed.” (Appx, Exh. N, at 253.) The PBNDS also provides that “[f]acilities

   shall comply with current and future plans implemented by federal, state or local authorities

   addressing specific public health issues including communicable disease reporting



   41
      Full copy available at: https://www.ice.gov/doclib/detention-
   standards/2011/pbnds2011r2016.pdf].
   42
      Supersession noted at: https://www.ice.gov/detention-standards/2000.

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      requirements.” (Appx, Exh. N, at 256-57.) Similarly, section 1.1(I) of the NDS, covered

      “facilit[ies] will operate in accordance with all applicable regulations and codes, such as those of

      . . . the Centers for Disease Control and Prevention (CDC).” (Appx I, Exh. O, at 304).43

             Respondents have failed to follow their duty to comply with the PBNDS and NDS, which

      in turn require compliance with CDC guidelines and federal, state and local laws. Respondents

      have neither reduced the population of Krome, Glades, and BTC. Nor have they done anything to

      ensure social distancing and proper hygiene.

             Respondents have failed to comply with the CDC guidelines. Respondents have not

      “[e]nsure[d] that sufficient stocks of hygiene supplies, cleaning supplies, PPE, and medical

      supplies . . . are on hand.” Compare CDC Guidance at 7 (Appx I, Exh. F, at 54); with

      Declarations of Individuals Detained at all three facilities: Krome (Warsane Dec., Hasan Dec.,

      Farah Dec., Arrak Dec.); Glades (Dairon Barredo Sanchez Dec., Tahimi Perez Dec., Franklin

      Ramon Gonzalez Dec., Gerardo Vargas Dec., and Francisco Rivero Valeron Dec.); and BTC

      (Valera Ramirez Dec., Sosa Fletes Dec., Sontay Funez Dec., Rosas Cardenas Dec., Betancourt

      Dec. Ferreira Borges Dec., and Bibiano Soares Dec) (Appx II).

             Respondents have not implemented the recommended cleaning and disinfecting practices.

      Compare CDC Guidance at 9 (Appx I, Exh. F, at 56); with Declarations of Individuals Detained

      at all three facilities: Krome (Warsane Dec., Hasan Dec., Farah Dec., Arrak Dec.); Glades

      (Dairon Barredo Sanchez Dec., Tahimi Perez Dec., Franklin Ramon Gonzalez Dec., Gerardo

      Vargas Dec., and Francisco Rivero Valeron Dec.); and BTC (Valera Ramirez Dec., Sosa Fletes

      Dec., Sontay Funez Dec., Rosas Cardenas Dec., Betancourt Dec. Ferreira Borges Dec., and

      Bibiano Soares Dec) (Appx II).



43
     Full copy available at: https://www.ice.gov/doclib/detention-standards/2019/nds2019.pdf.

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          Respondents have not implemented the recommended hygiene practices. Compare CDC

   Guidance at 10 (Appx I, Exh. F, at 57); with Declarations of Individuals Detained at all three

   facilities: Krome (Warsane Dec., Hasan Dec., Farah Dec., Arrak Dec.); Glades (Dairon Barredo

   Sanchez Dec., Tahimi Perez Dec., Franklin Ramon Gonzalez Dec., Gerardo Vargas Dec., and

   Francisco Rivero Valeron Dec.); and BTC (Valera Ramirez Dec., Sosa Fletes Dec., Sontay

   Funez Dec., Rosas Cardenas Dec., Betancourt Dec. Ferreira Borges Dec., and Bibiano Soares

   Dec) (Appx II).

          Respondents have not implemented adequate social distancing practices. Compare CDC

   Guidance at 11 (Appx I, Exh. F, at 58); with Declarations of Individuals Detained at all three

   facilities: Krome (Warsane Dec., Hasan Dec., Farah Dec., Arrak Dec.); Glades (Dairon Barredo

   Sanchez Dec., Tahimi Perez Dec., Franklin Ramon Gonzalez Dec., Gerardo Vargas Dec., and

   Francisco Rivero Valeron Dec.); and BTC (Valera Ramirez Dec., Sosa Fletes Dec., Sontay

   Funez Dec., Rosas Cardenas Dec., Betancourt Dec. Ferreira Borges Dec., and Bibiano Soares

   Dec) (Appx II).

          Respondents have not communicated clearly and frequently with Petitioners regarding

   COVID-19 and how they can contribute to risk reduction. Compare CDC Guidance at 12 (Appx

   I, Exh. F, at 59); with Declarations of Individuals Detained at all three facilities: Krome

   (Warsane Dec., Hasan Dec., Farah Dec., Arrak Dec.); Glades (Dairon Barredo Sanchez Dec.,

   Tahimi Perez Dec., Franklin Ramon Gonzalez Dec., Gerardo Vargas Dec., and Francisco Rivero

   Valeron Dec.); and BTC (Valera Ramirez Dec., Sosa Fletes Dec., Sontay Funez Dec., Rosas

   Cardenas Dec., Betancourt Dec. Ferreira Borges Dec., and Bibiano Soares Dec) (Appx II).

          Respondents’ cohorting practices violate CDC guidance and increase the threat posed to

   Petitioners. The CDC’s Interim Guidance on Management of Coronavirus Disease 2019




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   (COVID-19) states that cohort quarantine “should only be practiced if there are no other

   available options” and that “[c]ohorting multiple quarantined close contacts of a COVID-19 case

   could transmit COVID-19 from those who are infected to those who are uninfected.”

   Respondents violate the CDC Guidelines by refusing to release people and instead keeping them

   confined in close sleeping, eating, and living quarters at Krome, Glades, and BTC. Further,

   because Respondents can and should release Petitioners and those similarly situated, “cohort

   quarantine” is not the only “available option.”

          Cohorting is not the same as quarantine or medical isolation and the CDC makes it clear

   that cohorting is to be used only as a last resort in those “correctional facilities and detention

   centers do not have enough individual cells” for quarantine or medical isolation. Interim

   Guidance, at 3, 15 (Appx, Exh. F, at 50, 62). The CDC and other medical expert opinions

   confirm that cohorting individuals who have not been confirmed to be infected with COVID-19

   “puts everyone at very high risk of contracting and spreading COVID-19.” Shin Dec., ¶ 33 (Exh.

   2).

          On March 31, 2020, the President updated the guidance, renaming it “30 Days to Slow

   the Spread,” and along with the White House Coronavirus Task Force urged Americans to

   continue to adhere to the CDC guidelines and expand community mitigation efforts.” On April 1,

   2020, Governor DeSantis issued a shelter-in-place order for the state of Florida, effective April

   3, 2020. Exec. Order No. 20-91.

          As Dr. Shin explains “[t]he only effective strategies to limit wide-spread impact of

   COVID-19 are public health strategies. These include containment efforts like early

   identification, contact tracing, isolation and quarantine measures, and intensive use of personal

   protective equipment. Unfortunately, due to limited testing capacity and public health resources




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   combined with wide-spread community spread, mitigation efforts like social distancing and

   scrupulous hand and personal hygiene are critical to limit the spread of COVID-19.” Shin Dec., ¶

   12 (Exh. 2). Dr. Shin also explains that “[t]here is no way for immigration detention facilities to

   comply with CDC guidelines on social distancing and quarantining unless Respondents release

   detained men and women on a large scale.” Id. at ¶¶ 39-40. Dr. Shin concluded that it is “my

   professional opinion that failure to release during the COVID-19 pandemic is a violation of the

   CDC guidelines and will result in continued and wide-spread infection.” Id.

             Dr. Shin’s conclusions are consistent with every other public health expert issued early

   warnings about the spread of COVID-19 and the need for the federal, state and local

   governments to employ social distancing mitigation efforts. Id. ¶ 6.     The consequences of the

   failure of federal, state and local government to adhere to the early warning by public health

   officials have been borne out in the United States. Id. at ¶ 40. As of the date of this Petition,

   there are 525,704 number of confirmed cases in the United States and 20,486 people have died.44

             As is detailed supra, Respondents have failed to follow their duty to comply with the

   PBNDS and NDS, which in turn require compliance with CDC guidelines and federal, state and

   local laws. Respondents have neither reduced the population of Krome, Glades, and BTC. Nor

   have they done anything to ensure social distancing and proper hygiene.

             Respondents have an obligation under the PBNDS and the NDS to protect the Petitioners.

   The PBNDS and the NDS require Respondents protect Petitioners by following the CDC

   guidelines, complying with federal, state or local plans, and reports requirements.




   44
        https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html

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          Petitioners have not been protected, and the Respondents’ violate the Accardi doctrine by

   failing to comply with its own obligations in violation of the APA and Fifth Amendment’s Due

   Process Clause.

      B. Count Two – Fifth Amendment – Violation of Right to Reasonable Safety

          The Fifth Amendment to the U.S. Constitution guarantees individuals in immigration

   detention the right to be free from punishment. The government violates this guarantee when

   conditions of confinement lack a reasonable relationship to any legitimate governmental purpose,

   i.e. when a custodian’s actions are excessive in relation to their purpose.

          Respondents’ continued detention of Petitioners during the COVID-19 pandemic is

   excessive in relation to any legitimate governmental purpose. Less harsh measures are available

   to satisfy any government interest in continuing to detain Plaintiffs, including release with

   conditions. Under these circumstances, Respondents’ detention of Petitioners amount to

   impermissible punishment.

          Conditions of confinement for individuals in immigration detention also violate the Fifth

   Amendment when the government fails, with deliberate indifference, to safeguard the health and

   safety of those in custody. The government acts with deliberate indifference when it knowingly

   exposes an individual in its custody to a substantial risk of serious harm.

          Respondents have subjected Petitioners to conditions of confinement that create a

   substantial risk of contracting a serious case of COVID-19, for which there is no known vaccine,

   treatment, or cure. Respondents know or should be aware of the fact that Petitioners’ underlying

   conditions render them especially vulnerable to severe illness or even death if they contract

   COVID-19. Respondents are therefore knowingly subjecting Petitioners to an unreasonable risk

   of serious harm, in violation of constitutional due process.




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          Respondents’ continued detention of Petitioners fails to adequately protect Petitioners

   from the risks of contracting COVID-19. Petitioners’ ongoing confinement lacks a reasonable

   relationship to any legitimate governmental purpose and is excessive in relation to their purpose.

          Respondents have exposed Petitioners to a substantial risk of serious harm. Respondents

   have known of or disregarded the substantial risk of harm to Petitioners’ health and safety.

   Respondents have acted with deliberate indifference to Petitioners’ health and safety.

   Respondents’ continued detention of Petitioners violates the Due Process Clause of the Fifth

   Amendment as detention has become punitive and is not reasonably safe.

      C. Count Three – Fifth Amendment – State-Created Danger

          The government acts with deliberate indifference to a known or obvious danger when it

   recognizes an unreasonable risk and actually intends to expose petitioners to such risks without

   regard to the consequences to petitioners. An unreasonable risk includes future harm caused by

   conditions of confinement. See Helling v. McKinney, 509 U.S. 25, 33 (1993). Respondents have

   not complied its obligations to follow the CDC guidelines, and affirmatively place Petitioners at

   greater risk of contracting COVID-19 by implemented practices that transfer people into and out

   of facilities, and employs cohort quarantining approach – that drastically increases the danger of

   the virus spreading. Respondents have acted with deliberate indifference to the clear elevated

   levels of threat caused to Petitioners.

           Respondents have affirmatively placed Petitioners in danger by forcing them into a

   position more dangerous than it found them, exposing them to elevated dangerous by failing to

   following CDC guidelines including by transferring people among facilities and improperly

   using cohort quarantines in a manner that places Petitioners in a more dangerous situation that it

   found them. Respondents made the affirmative decision to not release Petitioners or use ATDs,




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   and instead implemented cohort quarantines in a manner that drastically increase the possibility

   of transmission, infection, and facility-wide outbreak by grouping together people who have

   already been exposed to the virus. See Shin Dec. ¶ 40 (Exh. 2); Greer Dec., ¶¶ 34-35 (Exh. 3).

          Respondents continue to detain Petitioners without taking necessary precautions to

   reduce the risk of COVID-19 transmission. Respondents have thus exposed Petitioners to a

   greater risk of contracting COVID-19 than they would have otherwise faced.

          Respondents continued to actively disregard the threat of the pandemic. Petitioners are

   detained in conditions that expose them to a heightened risk of contracting COVID-19.

   Respondents are confining Petitioners in close proximity to other detainees and ICE officers,

   rendering Petitioners entirely unable to practice necessary social distancing.

          ICE officers are failing to take necessary precautions, to avoid transmitting COVID-19 to

   Petitioners, detainees, and other officers. Respondents’ ongoing detention of Petitioners thus

   continues to expose them to a greater risk of contracting COVID-19 than they would face if they

   were not in detention and were able to take necessary precautions to protect themselves.

           Respondents have acted, and continue to act, with deliberate indifference to the known

   and obvious risk of COVID-19 transmission.

          Respondents implemented a cohort quarantine approach that does not comply with CDC

   guidelines and drastically increases the risk of COVID-19 exposure and contraction, at the time

   when the federal government and State of Florida had both declared public health emergencies.

   Despite being well-aware of both the risks of community transmission of COVID-19 and the

   preventive measures necessary to slow that transmission, Respondents acted without regard to

   the consequences to Petitioners by failing to implement a plan calculated to meaningfully

   comply with CDC guidelines, instead exposing the Petitioners to drastically increased risk of




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   exposure by defying CDC guidelines in the use of cohort quarantining and actively transferring

   detainees among facilities with confirmed cases detainees and facility employees having

   contracted COVID-19. See Shin Dec. ¶40 (Exh. 2).

            For these reasons, Petitioners’ detention violates the Fifth Amendment Due Process

   Clause because Respondents affirmatively subjected Petitioners to an unreasonable risk of

   danger, greater danger than before Respondents acted, with deliberate indifference to employing

   policies that drastically increase the risk of Petitioners’ contracting COVID-19.


      II.      Petitioners and members of the proposed class will suffer irreparable harm
               without injunctive relief.

            Petitioners, members of the proposed class, and their families will suffer irreparable

   injury without injunctive relief. On March 31, 2020, the President updated the guidance,

   renaming it “30 Days to Slow the Spread,” and along with the White House Coronavirus Task

   Force urged Americans to continue to adhere to the CDC guidelines and expand community

   mitigation efforts.” On April 1, 2020, Governor DeSantis issued a shelter-in-place order for the

   state of Florida, effective April 3, 2020. Exec. Order No. 20-91.

            As Dr. Shin explains “[t]he only effective strategies to limit wide-spread impact of

   COVID-19 are public health strategies. These include containment efforts like early

   identification, contact tracing, isolation and quarantine measures, and intensive use of personal

   protective equipment. Unfortunately, due to limited testing capacity and public health resources

   combined with wide-spread community spread, mitigation efforts like social distancing and

   scrupulous hand and personal hygiene are critical to limit the spread of COVID-19.” Shin Dec., ¶

   12 (Exh. 2).




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          Dr. Shin also explains that “[t]here is no way for immigration detention facilities to

   comply with CDC guidelines on social distancing and quarantining unless Respondents release

   detained men and women on a large scale.” Id. at ¶¶ 39-40. Dr. Shin concluded that it is “my

   professional opinion that failure to release during the COVID-19 pandemic is a violation of the

   CDC guidelines and will result in continued and wide-spread infection.” Id.

          Dr. Shin’s conclusions are consistent with every other public health expert issued early

   warnings about the spread of COVID-19 and the need for the federal, state and local

   governments to employ social distancing mitigation efforts. Drs. Scott Allen and Josiah Rich—

   experts in the fields of detention health, infectious disease, and public health who advise DHS’s

   Office of Civil Rights and Civil Liberties—who urged Congress on March 19, 2020 to take

   immediate actions to slow the spread of COVID-19 in ICE detention centers, including releasing

   immigrants to facilitate maximum social distancing—an “oxymoron” in congregate

   settings. (Appx I, Exh. L, at 235-41.) Drs. Allen and Rich also warned of the dire consequences

   that a COVID-19 outbreak within an ICE detention facility would have on the community

   outside the facility. They describe a “tinderbox” scenario where a rapid outbreak inside a facility

   would result in the hospitalization of multiple detained people in a short period of time, which

   would spread the virus to the surrounding community and create a demand for ventilators far

   exceeding the supply. Id.

          Once a disease is introduced into a jail, prison, or detention facility, it spreads faster than

   under most other circumstances due to overcrowding, poor sanitation and hygiene, and lack of

   access to adequate medical services. For these same reasons, the outbreak is harder to




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   control.45 The severe outbreaks of COVID-19 in congregate environments, such as cruise ships

   and nursing homes, illustrate how rapidly and widely COVID-19 would rip through an

   ICE detention facility. On the Diamond Princess cruise ship, for example, approximately 700

   passengers and crew on board were infected over the course of three weeks despite the initiation

   of quarantine protocols.46

            The consequences of the failure of federal, state and local government to adhere to the

   early warning by public health officials have been borne out in the United States. Id. at ¶ 40.

   As of the date of this Petition, there are 525,704 number of confirmed cases in the United States

   and 20,486 people have died.47

            Each of the three detention centers either has confirmed cases of the virus or has groups

   of individuals herded together in “cohort quarantine” because they have been exposed. Rather

   than mitigate the risk of transmission, these cohort quarantines drastically increase the possibility

   of transmission, infection, and facility-wide outbreak by grouping together people who have

   already been exposed to the virus.

            Dr. Shin explains that “[t] he analysis that I provide above regarding screening,

   ‘cohorting’ and social distancing is not theoretical. In fact, there are a growing number of

   facilities throughout the country where the rate of infection is growing exponentially amongst

   both people detained as well as staff. In these settings, hundreds, and potentially thousands of

   people will become infected, and many will die.” Greer Dec., ¶ 34 (Exh. 3). Finally, Dr. Shin


   45
     Christina Potter, Outbreaks in Migrant Detention Facilities, Outbreak Observatory (Jul. 11,
   2019), https://www.outbreakobservatory.org/outbreakthursday-1/7/11/2019/outbreaks-in-
   migrant-detention-facilities
   46
     Failures on the Diamond Princess Shadow Another Cruise Ship Outbreak, The New York
   Times (Mar. 8, 2020), www.nytimes.com/2020/03/08/world/asia/coronavirus-cruise-ship.html.
   47
        Available at: https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html

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   explains that “it should also be understood that all individuals are susceptible to infection and

   serious life-threatening complications that can result in death…. have been actively involved in

   our hospital’s response and in directly treating patients. I have personally treated patients-many

   of these individuals are young and did not have any pre-existing medical conditions.” Shin Dec.,

   ¶ 41 (Exh. 2).

              COVID-19 threatens every woman and man detained at Krome, Glades, and BTC. A

   chart of the reported COVID-19 cases of people in ICE detention depicts an alarming steep

   curve. (Appx I, Exh. E, at 47); see also Shin Dec. at ¶¶39-41(Exh. 2).

       III.      The government will suffer no specific injury if injunctive relief is granted, and a
                 grant of injunctive relief is in the public interest.

              “Once an applicant satisfies the first two factors, the traditional stay inquiry calls for

   assessing the harm to the opposing party and weighing the public interest.” Nken, 556 U.S., at

   435. “These factors merge when the Government is the opposing party.” Id. Here, the

   government will suffer no specific injury if injunctive relief is granted. The government may

   utilize its Alternatives to Detention (“ATD”) program, which uses supervised release, case

   managements, and monitoring of individuals instead of detention. Furthermore, the government

   will benefit from slowing the spread of COVID-19, a benefit that merges with the public interest

   in this case.

              On March 11, 2020, the World Health Organization (“WHO”) declared the outbreak a

   global pandemic,48 and COVID-19 has now touched nearly every country on the planet.49


       48
          Tedros Adhanom Ghebreyesus, WHO Director-General’s opening remarks at the media
   briefing on COVID-19 – 11 March 2020 (Mar. 11, 2020),
   https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-
   briefing-on-covid-19---11-march-2020.
       49
         Coronavirus disease 2019 (COVID-19) Situation Report – 73, World Health Organization
   (Apr. 2, 2020), https://www.who.int/docs/default-source/coronaviruse/situation-

                                                        68
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             The WHO has exhorted both immigration and criminal justice decision makers to use

   “non-custodial measures” to protect incarcerated men, women, and children and to stem the

   escalating transmission rate. (Appx I, Exh. H, at 92)

             As of April 12, 2020, the number of confirmed cases worldwide has surpassed one and a

   half million, including over 560,000 people in the United States. Over 114,000 people have died

   as a result of COVID-19 worldwide, including at least 22,000 in the United States.50

             Nationally, projections by the CDC indicate that over 200 million people in the United

   States could be infected with COVID-19 over the course of the pandemic without effective

   public health intervention, with as many as 1.7 million deaths in the most severe projections.51

   On March 23, 2020, the WHO warned that the United States could become the next epicenter of

   the pandemic.52 Indeed, on March 26, 2020, the United States surpassed every other country in

   the world in number of confirmed COVID-19 cases.53 On April 11, 2020, the United States

   surpassed every other country in the world in the number of confirmed COVID-19 deaths.54

             In the state of Florida, transmission of COVID-19 has been rampant. As of April 13,



   reports/20200402-sitrep-73-covid-19.pdf?sfvrsn=5ae25bc7_4https://www.who.int/docs/default-
   source/coronaviruse/situation-reports/20200330-sitrep-70-covid-19.pdf?sfvrsn=7e0fe3f8_2.
        50
         Worldometer: Coronavirus, https://www.worldometers.info/coronavirus/#countries (last
   accessed Apr. 12, 2020).
        51
         Sheri Fink, Worst-Case Estimates for U.S. Coronavirus Deaths, The New York Times (last
   updated Mar. 18, 2020), https://www.nytimes.com/2020/03/13/us/coronavirus-deaths-
   estimate.html.
        52
         Sarah Boseley, US may become next centre of coronavirus pandemic, says WHO, The
   Guardian (Mar. 24, 2020), https://www.theguardian.com/world/2020/mar/24/us-may-become-
   centre-of-coronavirus-pandemic-who-says.
        53
        U.S. Now Leads the World in Confirmed Cases, The New York Times (last updated Apr. 1,
   2020), https://www.nytimes.com/2020/03/26/world/coronavirus-
   news.htmlhttps://www.nytimes.com/2020/03/26/world/coronavirus-news.html.
   54
     U.S. Surpasses Italy in Total Number of Confirmed Deaths, The New York Times (last
   updated Apr. 12, 2020), www.nytimes.com/2020/04/11/us/coronavirus-live-updates.html.

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   2020, the number of reported cases in Florida is at 19,895, with the number of reported deaths

   from COVID-19 at 461, making Florida the state with the 11th highest number of COVID-19-

   related deaths in the United States.55 The counties of Miami-Dade and Broward in South Florida

   account for half of all Florida cases of COVID-19.56

              Due to the lack of widespread testing available in most countries, including the United

   States, the number of confirmed cases is likely but a fraction of the true number of COVID-19

   cases worldwide. As of April 12, 2020, just over 2.8 million tests have been administered in the

   entire United States; in Florida, only 184,926.57 Because of the shortage of tests in the United

   States—admitted to be a “failing” by top infectious disease expert Dr. Anthony Fauci58—the

   CDC currently recommends prioritizing testing for symptomatic healthcare providers and

   hospitalized patients59—which means that the number of diagnosed COVID-19 cases may be

   only the tip of a very large iceberg.60 The public interest lies in stopping the spread of COVID-

   19.




         55
          Listing of United States Total Coronavirus Cases (last updated Apr. 9, 2020),
   https://www.worldometers.info/coronavirus/country/us/.
   56
      Florida’s COVID-19 Data and Surveillance Dashboard (last accessed Apr. 13, 2020),
   https://experience.arcgis.com/experience/96dd742462124fa0b38ddedb9b25e429.
       57
          The COVID Tracking Project, Our most up-to date data and annotations (last updated Apr.
   12, 2020, 11:22 PM), https://covidtracking.com/data/.
         58
          Elizabeth Chuck, ‘It is a failing. Let’s admit,’ Fauci says of coronavirus testing capacity
   NBC News (Mar. 12, 2020), https://www.nbcnews.com/health/health-news/it-failing-let-s-admit-
   it-fauci-says-coronavirus-testing-n1157036.
         59
         Centers for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-19),
   Evaluating and Testing Persons for Coronavirus Disease 2019 (COVID-19) (last updated Mar.
   24, 2020), https://www.cdc.gov/coronavirus/2019-nCoV/hcp/clinical-criteria.html.
         60
         George Citroner, How Many People in the United States Actually Have COVID-19?,
   Healthline (Mar. 18, 2020), https://www.healthline.com/health-news/how-many-coronavirus-
   cases-are-there.


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          The World Health Organization, recognizing the threat to detained people, has urged that

   “[e]nhanced consideration should be given to resorting to non-custodial measures at all stages of

   the administration of criminal justice, including at the pre-trial, trial and sentencing as well as

   post-sentencing stages.” (Appx I, Exh. H, at 82-121, 92) (WHO Interim Guidance) (emphasis

   added). This guideline applies to “immigration detention settings” as well. (Id., at 95 §5.)

          Respondents cannot control the spread of COVID-19 without widespread

   testing. See Shin Dec. at ¶¶ 28, 33 and 39 (Exh. 2). (“The lack of wide-spread testing,

   transparency and data in communities in the US and all across the world allowed undetected

   spread in the community as well as within facilities and institutions that fueled the current

   pandemic.”). However, as ICE has admitted through Officer in Charge at Krome, they are not

   testing at the facilities. (Appx I, Exh. I, at 122-25, 123 ¶ 8-9) (noting medical screening that does

   not include testing or testing upon presentation of symptoms). Tests typically only occur if a

   person is brought to the hospital. Periodic testing of already symptomatic people does little to

   prevent further infections. As Dr. Shin explains, "three studies that support the likelihood that

   asymptomatic or mildly symptomatic individuals can spread the infection. These studies took

   place in China, Japan and one study included passengers from the Diamond Princess. These

   studies found that in COVID infected persons, 59%, 31% and 18%; respectively, were

   asymptomatic or mildly symptomatic.” See Shin Dec. at ¶24 (Exh. 2).

          Detainee reports from all three facilities document that social distancing is impossible,

   people exhibiting flu-like symptoms are housed in the general population, and maintaining

   personal hygiene is constrained by the crowded facilities and lack of cleaning supplies. At BTC

   and Glades, men and women must ration soap weekly—two smalls bottles at BTC per person,




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   and one 4-ounce bottle at Glades. (Appx I, Exh. J, at 126-30) (Declaration of Francis L. Conlin,

   Friends of Miami-Dade Detainees).

             Detained individuals have not been trained on how to use hygiene and social distancing

   to try and reduce the spread of COVID-19. Detained individuals have no access to personal

   protective equipment (“PPE”), not even through commissary. Only some facility staff use PPE.

   COVID-19 infections at Krome, Glades, and BTC affect the larger community, as many people

   travel in and out of these facilities, including staff and vendors. As of April 12, 2020, there were

   10,007 confirmed cases of COVID-19 between Miami-Dade County, Broward County, and

   Glades County.61 These numbers amount to over half of the total number of positive cases in the

   entire state of Florida, and are growing exponentially each passing day.62

             Throughout the world, the COVID-19 pandemic is infecting and killing women, men,

   and children. The United States has now surpassed the rest of the world in both the number of

   confirmed cases and the highest number of deaths. There is no vaccine against COVID-19 and

   no known cure. Currently, the only recognized strategies to reduce the risk of exposure to

   COVID-19 are social distancing, widespread testing, and improved hygiene, which have led to

   unprecedented public health measures around the world.

             Unfortunately, ICE is preventing people at Krome, Glades, and BTC from complying

   with sheltering in place protocols and CDC guidelines. Despite warnings from medical and

   public health professionals that releasing detained immigrants is the only viable option to comply

   with social distancing, individual quarantine, and other CDC requirements and local and state

   orders, the agency has generally refused to release in any meaningful way, in the absence of

   court intervention.    As Dr. Greer explains “[c]ontinued and wide-spread infection will not only


   61
        https://floridahealthcovid19.gov/
   62
        As of April 12, 2020, there were 19, 895 positive cases of COVID-19 in the state of Florida. Id

                                                     72
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   occur in the detention facilities but also in the community. Health in detention facilities is

   community health. Protecting the health of individuals who are detained in and work in these

   facilities is vital to protecting the health of the wider community.” Greer Dec., ¶ 34 (Exh. 3).

                                         REQUESTED RELIEF

          Based upon the foregoing, the Petitioners respectfully request that the Court issue an

   Emergency Temporary Restraining Order, immediately enjoining the Respondents from:

          (1) Transferring all Petitioners and proposed class members out of their respective

   detention facilities and centers to any other detention facility or center;

          (2) Transferring any new immigrant detainees into Krome, BTC, or Glades from any

   other detention facility or center;

          (3) Schedule an emergency hearing over this matter;

   After a hearing can be had on this matter, the Petitioners respectfully request that the Court issue

   an Emergency Preliminary Injunction granting the following relief:

          (1) Order the release of petitioners-plaintiffs and all similarly situated members of the

          proposed class in Krome, BTC, and Glades on their own recognizance with appropriate

          precautionary public health measures, or, in the alternative, release plaintiffs and all

          similar situated detainees in Krome, BTC, and Glades into community-based alternatives

          to detention, such as conditional release, supervision or electronic monitoring, with

          appropriate precautionary public health measures;

          (2) Order the implementation of CDC public health guidance and protocols designed to

          prevent the transmission of COVID-19 in Krome, BTC, and Glades.




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                                   CERTIFICATION OF EMERGENCY

          Undersigned counsel certifies that this is an emergency motion pursuant to Local Rule

   7.1(d)(1).

          Petitioners, and the class they represent, are at imminent risk of transfer outside of

   Florida.

          After reviewing the facts and researching applicable legal principles, I certify that this

   motion in fact presents a true emergency (as opposed to a matter that may need only expedited

   treatment) and requires an immediate ruling because the Court would not be able to provide

   meaningful relief to a critical, non-routine issue after the expiration of seven days. I understand

   that an unwarranted certification may lead to sanctions.




   Dated: April 13, 2020


   Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, that on April 13, 2020, I filed the foregoing document with the Clerk

   of the Court for the U.S. District Court for the Southern District of Florida via the CM/ECF

   electronic filing system. I also certify that the foregoing document is being served this day on all

   counsel of record or pro se parties, either via transmission of Notices of Electronic Filing

   generated by CM/ECF or in some other authorized manner for those counsel or parties who are

   not authorized to receive electronically Notices of Electronic Filing.


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